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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                           TYLER DIVISION



 CHAMBER OF COMMERCE OF THE
 UNITED STATES OF AMERICA,                         Civil Action No. 6:25-cv-009
 BUSINESS ROUNDTABLE, AMERICAN
 INVESTMENT COUNCIL, and
 LONGVIEW CHAMBER OF
 COMMERCE,

                         Plaintiffs,

 v.

 FEDERAL TRADE COMMISSION and
 LINA KHAN, in her official capacity,

                         Defendants.




        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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       Plaintiffs the Chamber of Commerce of the United States of America, Business

Roundtable, American Investment Council, and Longview Chamber of Commerce, by and

through undersigned counsel, bring this complaint for declaratory and injunctive relief

against Defendants Federal Trade Commission and Lina Khan in her official capacity as

Chair of the Commission, alleging as follows:

                                    INTRODUCTION

       1.      In 1977, Thomas Bertram Lance, former director of the Office of

Management and Budget, shared his motto for good government with the U.S. Chamber

of Commerce newsletter Nation’s Business: “If it ain’t broke, don’t fix it.” As Lance saw

it, that was “the trouble with government: Fixing things that aren’t broken and not fixing

things that are broken.” Nearly five decades later, the Federal Trade Commission’s

recent premerger-notification rulemaking shows that nothing has changed.

       2.      The FTC administers the Hart-Scott-Rodino Antitrust Improvements Act

of 1976 (HSR Act), which requires companies to file a “premerger notification” alerting

the FTC and Department of Justice of mergers, acquisitions, and similar transactions

above a certain size. 15 U.S.C. § 18a. The companies must then generally wait 30 days

after filing to close. The Act gives the two antitrust agencies the chance to investigate

and, if necessary, sue to block a transaction before the parties have integrated their assets

and management, at which point “‘unscrambling’ the merger, and restoring the acquired

firm to its status as an independent competitor,” can be difficult. H.R. Rep. No. 94-1373,

at 8 (1976).




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       3.     The HSR Act authorizes the FTC to design the “form” of the premerger

notification and establish the “documentary material and information” that the merging

companies must provide. 15 U.S.C. § 18a(d)(1). For the last 45 years, the FTC has

required more or less the same basic kinds of information and documents—enough for the

reviewing antitrust agency to make a preliminary assessment of the transaction and

determine whether further review is necessary. Then, if that initial screen suggests some

cause for concern, the agency can issue what is known as a Second Request: a required

“submission of additional information or documentary material relevant to the proposed

acquisition.” Id. § 18(e)(1)(A). A Second Request extends the waiting period, generally

requiring the merging companies not to close until 30 days after they have submitted the

additional requested information. Id. § 18a(e)(2).

       4.     Recently, the FTC finalized a new rule that massively expands the amount

of documentary material and information that must be included in the initial premerger

notification form for all HSR-reportable transactions. Premerger Notification; Reporting

and Waiting Period Requirements, 89 Fed. Reg. 89,216 (Nov. 12, 2024). By the agency’s

own lowball estimate, the Rule’s changes to the notification form will more than

quadruple the average time and expense of preparing an HSR filing for thousands of

reportable transactions each year. With that kind of dramatic change, one would expect

that the previous notification form was failing to achieve its basic task: enabling the

antitrust agencies to identify the handful of mergers that present potential antitrust

concerns and thus require their further attention.




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       5.      Yet the FTC has zero evidence of that. Indeed, despite repeated challenges

to do so, the agency has never identified a single transaction that it missed because of

gaps in the requirements of the previous premerger form. Since the Act was enacted, the

FTC has never made more than small tweaks to the content of what that form first

required in 1978. Moreover, until the FTC began this process, there was widespread

consensus that the premerger-notification process was working well. Even the FTC’s

own introductory guide to premerger review proclaimed as recently as July 2024 that the

HSR “Program has been a success,” and “has minimized the number of post-merger

challenges the enforcement agencies have had to pursue.” FTC, What is the Premerger

Notification    Program?      An    Overview       2   (Mar.   2009),   http://web.archive.org/

web/20240612020736/https://www.ftc.gov/sites/default/files/attachments/premerger-

introductory-guides/guide1.pdf (2009 FTC Guide). The FTC conveniently deleted that

language from the guide just before it finalized the new Rule.             FTC, What is the

Premerger Notification Program? An Overview (Aug. 2024), https://www.ftc.gov/

sites/default/files/attachments/premerger-introductory-guides/guide1.pdf         (2024    FTC

Guide). And Congress itself has made only minor adjustments to the HSR Act—including

just two years ago—that have generally made the premerger process less burdensome for

filers, not more.

       6.      The FTC’s dramatic expansion of the premerger notification form is not

simply a bad idea, though it is that. It is also unlawful.

       7.      First, the Rule exceeds the constraints imposed by the HSR Act on the

kinds of information and documents that the FTC may demand in the initial premerger




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notification.   Most importantly, the statute authorizes the FTC to require only the

information and documents that are “necessary and appropriate to enable the [FTC and

DOJ] to determine whether [the proposed] acquisition may, if consummated, violate the

antitrust laws.” 15 U.S.C § 18a(d)(1) (emphasis added). That language limits the FTC to

requiring information and materials that are (i) truly needed to determine whether a

Second Request is warranted and (ii) do not impose a higher cost to compile and submit

than they are worth in help to the agencies during their initial screen. In a Second

Request, by contrast, the agencies may demand any “information or documentary

material relevant to [the] proposed acquisition.” Id. § 18a(e)(1)(A). Congress created that

two-step process to avoid pointlessly burdening the vast majority of mergers and

acquisitions that obviously pose no antitrust problem with expensive, time-consuming

filings. Yet in the Rule, the FTC rejected the existence of these constraints, and thus

never determined that the benefits of the Rule’s many new information and document

mandates are worth their costs. The Rule is thus fundamentally “incompatible with the”

two-step “statutory scheme” Congress established in the HSR Act. Sierra Club v. EPA,

294 F.3d 155, 162 (D.C. Cir. 2002).

       8.       Second, and in any event, no rational cost-benefit analysis could have

concluded that the Rule’s additions to the premerger notification form are worth the

candle. As noted, the FTC itself estimated that the Rule will more than quadruple the

amount of time and expense it takes to prepare the form for thousands of HSR-reportable

transactions a year. Even that assessment is far too low. And it ignores the fact that, as

commenters from every corner of industry explained, the additional expense and delays




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that the Rule inflicts on every HSR-reportable transaction will deter and even prevent the

consummation of many transactions that would have brought significant value to

consumers and the larger economy. Against those costs—most of which will fall on the

85% of HSR-reportable transactions that get nothing more than a cursory glance, because

they are obviously lawful—the Rule offers trivial benefits at best. The evidence shows

that the antitrust agencies are already able to effectively detect transactions that might

ultimately violate the antitrust laws.     The flood of new information and documents

required by the Rule cannot meaningfully improve on that excellent track record. All it

will do—assuming the agencies even review it—is slow down their analysis.

       9.     Third, even if the Rule as a whole could pass a cost-benefit analysis, many of

the new categories of information and documents that the Rule adds to the HSR form

cannot survive cost-benefit scrutiny when evaluated on an individual basis.           At a

minimum, those particularly burdensome additions to the premerger notification form are

beyond the FTC’s authority.

       10.    Fourth, the Rule does not adequately explain why the FTC needed to

embark on this unprecedented expansion of the form. As the Rule itself notes, the version

of the form that was in effect before this rulemaking was “very similar to the original 1978

version in its scope and content.” 89 Fed. Reg. at 89,257. The balance that version struck

between costs and benefits worked well by all accounts. To toss aside that version and

replace it with a far more burdensome one, the FTC needed actual proof that the current

form has meaningful shortcomings that will be fixed by the Rule. That mandate flows

from the HSR Act’s requirement that the information sought be “necessary,” 15 U.S.C.




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§ 18a(d)(1), from the general requirement of the Administrative Procedure Act that the

benefits of any rule be “adequately substantiated,” Chamber of Commerce of United

States v. SEC, 85 F.4th 760, 778 (5th Cir. 2023), and from the related requirement that

“when an agency changes its existing position,” it must “show that there are good reasons

for the new policy,” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016). If the

FTC has such proof, the Rule does not point to it.

       11.    Finally, even if the Rule had adequately established the existence of “a

genuine problem” with the current form, Chamber of Commerce, 85 F.4th at 778, the Rule

is arbitrary and capricious because it lacks a “reasoned explanation for its rejection” of

the far less burdensome alternatives available for addressing that problem, Farmers

Union Cent. Exch., Inc. v. FERC, 734 F.2d 1486, 1511 (D.C. Cir. 1984).           As many

commenters pointed out, if the antitrust agencies need to learn more about a proposed

transaction during the initial 30-day window, they have many means at their disposal:

voluntary requests to the parties (who are strongly incentivized to cooperate), outreach to

competitors and customers (who are strongly incentivized to bring up antitrust concerns if

they exist), and even compulsory process in the form of civil investigative demands. Or

the agencies could make better use of Second Requests. The Rule offers no good reason

for rejecting the option of improving and expanding the use of these much more targeted

tools, and instead choosing to dramatically expand the information that all filers must

provide, at great cost, for every HSR-reportable transaction.

                                      *      *       *




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        12.    In July 2023, just one month after issuing the proposed version of the Rule,

 FTC Chair Lina Khan responded to a question about the “perception” that the FTC had

 become overly hostile to merger activity. Chair Khan responded: “Just to put things in

 context, any given year the antitrust agencies get anywhere between 1,500 and 3,000

 merger filings. Of that number, 98 percent go through without even second questions

 being asked by the agencies, so around two percent of all deals even get what’s known as a

 Second Request . . . . And an even smaller fraction ultimately results in a legal challenge.

 So the vast majority of deals [are] still going through. . . . It’s really an issue on the

 margins.” Remarks of FTC Chair Lina M. Khan, Economic Club of New York, Interview

 by   Peter    Orszag    (July    24,   2023),       available   at     https://www.youtube.com/

 watch?v=X7u3JwSfHZY.

        13.    Chair Khan was correct. The “vast majority” of mergers and acquisitions

 are not only obviously lawful, but critical for sustaining a dynamic modern economy.

 Congress designed the HSR Act’s two-step process to avoid undue interference with that

 engine of economic growth.      The FTC’s unprecedented revisions to the premerger

 notification form disregard that core feature of the statutory framework and will impose

 alarming and unprecedented new burdens on all HSR-reportable transactions—not just

 those “on the margins”—without any good reason. As a result, the Rule adopting those

 revisions exceeds the FTC’s authority and violates the APA’s prohibition on arbitrary and

 capricious decisionmaking. This Court should therefore set aside the Rule.




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                                         PARTIES

        14.    Plaintiff Chamber of Commerce of the United States of America (U.S.

 Chamber) is the world’s largest business federation, with over 300,000 members,

 including members in the Eastern District of Texas. A 501(c)(6) nonprofit headquartered

 in Washington, D.C., the U.S. Chamber represents more than three million companies

 and professional organizations of every size, in every industry sector, and from every

 region in the United States. An important function of the U.S. Chamber is to represent

 the interests of its members before Congress, the Executive Branch, and the courts in

 conjunction with its mission to advocate for policies designed to help businesses create

 jobs and grow the national economy.        The U.S. Chamber has many members that

 regularly enter into merger, acquisition, or other transactions that meet or exceed the size

 thresholds for filing a premerger notification form under the HSR Act and thus will be

 subject to the requirements of the Rule, including members for which frequent merger-

 and-acquisition (M&A) activity is a regular and consistent feature of their business model.

        15.    To further its core purposes, the U.S. Chamber has challenged actions and

 rulemaking by federal agencies. See, e.g., Chamber of Commerce v. EPA, 24-1051 (D.C.

 Cir. 2024); Ryan LLC v. FTC, 24-10951 (5th Cir. 2024); Chamber of Commerce v. SEC,

 No. 23-5409 (6th Cir. 2024); Chamber of Commerce v. U.S. Dep’t of Labor, 5:17-cv-00009

 (W.D. Okla. 2024); Chamber of Commerce v. EPA, 3:23-cv-00007 (E.D. Ky. 2023).

        16.    Plaintiff Business Roundtable is a 501(c)(6) nonprofit association of chief

 executive officers of America’s leading companies representing every sector of the U.S.

 economy. These companies have employees in every state, including Texas. Business




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 Roundtable works to promote a thriving United States economy and economic

 opportunity for all Americans by advocating for sound public policies.                  Business

 Roundtable is headquartered in Washington, D.C. Many of the members of Business

 Roundtable are CEOs of companies that regularly enter into merger, acquisition, or other

 transactions that meet or exceed the size thresholds for filing a premerger notification

 form under the HSR Act and thus will be subject to the requirements of the Rule,

 including members for which frequent M&A activity is a regular and consistent feature of

 their business model.

        17.     Plaintiff the American Investment Council (AIC) is a 501(c)(6) nonprofit

 association of private equity and private credit firms. AIC’s members have offices and

 portfolio companies in every state in America. In Texas alone, there are over a thousand

 private equity firms and over a million employees at private equity-backed companies.

 AIC works to develop and provide information about the private investment industry and

 its contribution to the long-term growth of the U.S. economy and security of American

 workers. Private equity fuels thousands of small businesses that are the lifeblood of local

 communities.     In     2022,    85%   of    all       private   equity   investments   went   to

 support small businesses with fewer than 500 employees. These investments help local

 companies hire new employees, improve their operations, and grow. Mergers and

 acquisitions are a regular and consistent feature of the private equity business model,

 with many transactions representing investment in small businesses. As such, AIC has

 many members that regularly enter into merger, acquisition, or other transactions that

 meet or exceed the size thresholds for filing a premerger notification form under the HSR




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 Act and thus will be subject to the requirements of the Rule, including members for which

 frequent M&A activity is a regular and consistent feature of their business model.

        18.    Plaintiff the Longview Chamber of Commerce represents Longview area

 businesses, including over 1,000 businesses and professional organizations in Gregg

 County and 11 adjacent counties. The Longview Chamber of Commerce maintains its

 principal place of business at 410 N. Center St., Longview, Texas 75601. The Longview

 Chamber has members that regularly enter into merger, acquisition, or other

 transactions that meet or exceed the size thresholds for filing a premerger notification

 form under the HSR Act, including members for which frequent M&A activity is a regular

 and consistent feature of their business model.

        19.    Plaintiffs bring this action on behalf of their members to advance their

 interests as well as the interests of the entire American business community. As part of

 advocating for their members, Plaintiffs are committed to ensuring that businesses are

 able to compete, gain scale, and innovate through deals that do not pose competitive

 concern.

        20.    The FTC’s massive expansion of the information and material required in

 the premerger notification form, which both the buyer and seller in virtually every

 reportable transaction must file, will make it far more costly for businesses, including

 Plaintiffs’ members, to consummate such deals. In the final rule, the FTC itself estimates

 that the average time for all filers to complete the revised premerger notification form

 will nearly triple, from 37 hours to complete the existing form to 105 hours to complete the

 new form. 89 Fed. Reg. at 89,332. For half of all reportable transactions, the FTC




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 estimates that the time for the buyer to complete the form will increase to 158 hours, a

 427% increase over the status quo. Id. These estimates, moreover, are much too low.

        21.    Beyond these direct compliance costs, the Rule inflicts significant indirect

 costs for the filing parties as well. For example, the need to collect, review, analyze, and

 prepare the additional information required by the Rule will significantly extend and

 delay deal timelines. Such delays may hamper the transacting parties’ ability to obtain

 financing, increase the risk that news of a non-public deal will leak, and generally impede

 if not prevent consummation of the transaction. The Rule also imposes a significant

 opportunity cost to businesses, which must divert valuable director, officer, and employee

 time to preparing the premerger notification form instead of running the company.

        22.    All of these costs will directly harm Plaintiffs’ members when they enter

 into HSR-reportable transactions. These costs are also likely to prevent consummation of

 at least some value-creating deals that would otherwise occur. The Rule will therefore

 also likely deprive Plaintiffs’ members of the additional resources, talent, efficiencies, and

 economies of scale that are gained through productive M&A activity. The Rule will also

 limit the ability of Plaintiffs’ members to bring new and better products to more

 consumers and more markets.

        23.    Applied across the economy as a whole, the FTC’s expansion of the

 premerger notification form will inflict significant harm. Larger businesses utilize M&A

 to unlock efficiencies, enhance innovation, and expand operations. Smaller companies,

 entrepreneurs, and early-stage investors benefit from opportunities for capital formation,

 liquidity, and growth, as well as the possibility of a future exit. This system benefits not




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 only the transacting parties, but also the American consumers whom the antitrust laws

 are designed to protect.

        24.    For all of these reasons, Plaintiffs the U.S. Chamber, AIC, and Business

 Roundtable filed comment letters strongly opposing the FTC’s proposed revisions to the

 premerger notification form and urging the agency to withdraw the proposed rule. See,

 e.g., U.S. Chamber Comment (Sept. 27, 2023), https://www.regulations.gov/comment/

 FTC-2023-0040-0684; AIC Comment (Sept. 27, 2023), https://www.regulations.gov/

 comment/FTC-2023-0040-0705; Business         Roundtable      Comment     (Sept. 27,   2023),

 https://www.regulations.gov/comment/FTC-2023-0040-0718.

        25.    Defendant Federal Trade Commission is a federal government agency

 headquartered in Washington, D.C. The FTC is subject to the Administrative Procedure

 Act pursuant to 5 U.S.C. § 551(1).

        26.    Defendant Lina M. Khan is the Chair of the FTC. She is sued in her official

 capacity and is also subject to the APA pursuant to 5 U.S.C. § 551(1).

                              JURISDICTION AND VENUE

        27.    Plaintiffs bring this action under the Administrative Procedure Act,

 5 U.S.C. § 500 et seq., and the Declaratory Judgment Act, 28 U.S.C. §§ 2201, 2202. This

 Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331.

        28.    Plaintiffs have associational standing to bring this suit on behalf of their

 members. Many of Plaintiffs’ members are directly harmed by the Rule’s significant

 expansion of the information and documentary material required by the premerger

 notification form, and accordingly have standing to sue in their own right. Specifically,




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 many of Plaintiffs’ members regularly enter into transactions that must be reported

 under the HSR Act. These members also plan to engage in such transactions in the

 future, as evidenced by their stated intentions, the nature of their businesses, and/or their

 consistent and established track records of frequent M&A activity. Once the Rule goes

 into effect, it will apply to these members when they enter into these HSR-reportable

 transactions. The Rule will adversely affect these members by requiring them to collect,

 analyze, and submit significant new amounts of documentary material and information in

 their HSR filings beyond what regulations currently require, at significant cost. As

 discussed above, the Rule will also adversely affect these members by preventing the

 consummation of transactions that would otherwise allow them to better compete,

 innovate, and expand.

        29.    The interests Plaintiffs seek to protect are germane to their purposes. Each

 Plaintiff is committed to protecting the interests of its members, as well as of the broader

 business community in this district and across the Nation.         Plaintiffs also regularly

 advocate for reforms that would reduce unjustified regulatory burdens on its members.

 Both of these core purposes converge here. The Rule represents a particularly egregious

 example of an unjustified burden inflicted indiscriminately on businesses large and small,

 directly harming both those businesses and the larger local and national economies in

 which they operate. That is why Plaintiffs filed lengthy comment letters urging the FTC

 to withdraw the Rule.

        30.    Finally, neither the claims asserted nor the declaratory and injunctive relief

 requested requires an individual member to participate in the suit. See Association of




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 Am. Physicians & Surgeons, Inc. v. Texas Med. Bd., 627 F.3d 547, 550 (5th Cir. 2010)

 (citing Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977)).

        31.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(e) because it is

 an action against an agency and officer of the United States, no real property is involved,

 and Plaintiff Longview Chamber resides in this district. Plaintiff Longview Chamber

 resides in this division.

                                      BACKGROUND

        A.      The Hart-Scott-Rodino Act’s Premerger Notification Requirement

        32.     In 1976, Congress enacted and President Ford signed into law the Hart-

 Scott-Rodino Antitrust Improvements Act. The HSR Act was intended to solve the so-

 called “midnight merger” problem. H.R. Rep. No. 94-1373, at 11; S. Rep. 94-803, at 64-65

 (1976). Companies concerned about the antitrust implications of a transaction would often

 merge quickly and in secret, preventing the antitrust enforcement agencies from learning

 about the transaction until it had already closed. Companies took this approach because,

 “after consummation occurs, many large mergers become almost unchallengeable.” H.R.

 Rep. No. 94-1373 at 8. As the House Report explained, on many occasions, “[d]uring the

 course of the post-merger litigation,” merging firms would become “in effect, irreversibly

 ‘scrambled’ together,” such that “restoring the acquired firm to its former status as an

 independent competitor” would be “difficult at best, and frequently impossible.” Id.

        33.     To address that dynamic, the HSR Act generally requires all companies

 that intend to enter into a merger, acquisition, or similar transaction over a certain size to

 file a “premerger notification” with the FTC and DOJ. 15 U.S.C. § 18a. Whether a




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 transaction must be reported depends on the value of the acquisition and, in some

 circumstances, the size of the buyer and seller. Today, most mergers and acquisitions

 valued at more than $119.5 million (subject to further annual adjustment, 15 U.S.C.

 § 18a(a)(2)) must be reported.     See 89 Fed. Reg. 7,708.       If a transaction is “HSR

 reportable,” the buyer and, in almost all cases, the seller must each file their own

 notifications. The merging companies are then prohibited from closing the transaction

 pending the expiration of one or more statutory “waiting periods,” during which the

 agencies can investigate the transaction and, if they wish, seek a preliminary injunction to

 prevent it.

        34.    Congress recognized that this sweeping new premerger notification regime

 was a blunt and potentially costly instrument. Nearly all mergers and acquisitions pose

 no antitrust risk, and lawful M&A activity is a critical engine of economic growth. Of

 necessity, however, the premerger filing requirement would have to be applied to those

 transactions. Congress thus recognized the need to design the premerger review system

 so that it would “neither deter nor impede consummation of the vast majority of mergers

 and acquisitions.” S. Rep. No. 94-803, at 66. Congress achieved that by dividing the

 antitrust agencies’ premerger screening process into two distinct components: the initial

 screen and the so-called “Second Request.”

        35.    First, to facilitate the initial screen, all parties to a reportable transaction

 must submit the “premerger notification.” 15 U.S.C. § 18a. The FTC may specify the

 “documentary material and information” that must be submitted in that “notification.” Id.

 § 18a(d)(1). But the agency may not require any and all information that is relevant to a




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 potential antitrust analysis. Instead, the information must be “necessary and appropriate

 to enable the [FTC and DOJ] to determine whether [the proposed] acquisition may, if

 consummated, violate the antitrust laws.” Id.

        36.     Then, if the FTC or DOJ determines that further scrutiny is warranted

 based on its initial review, it may issue what is known as a Second Request. 15 U.S.C.

 § 18a(e).    In a Second Request, the requesting agency is not limited to demanding

 information that is “necessary and appropriate,” but instead may require “information or

 documentary material relevant to [the] proposed acquisition.”        Id. § 18a(e)(1)(A).   A

 Second Request extends the waiting period, typically for an additional 30 days after the

 investigating agency receives the additional information. Id. § 18a(e)(2).

        37.     The statutory language and two-step structure make clear that in the initial

 HSR submission, the FTC may only require “a basic amount of information” that allows

 the antitrust agencies to “make a preliminary assessment of the transaction and

 determine whether further review is necessary.” William Baer, Reflections on 20 Years of

 Merger Enforcement under the Hart-Scott-Rodino Act (Oct. 31, 1996). For one thing, the

 statute refers to the premerger document that must be filed as a “notification,” not a

 petition, application, or request.   In ordinary usage, a “notification” merely provides

 pertinent information, but does not provide any and all information the recipient might

 find helpful or relevant.

        38.     In addition, Congress’s use of the phrase “necessary and appropriate” to

 limit the material the FTC may demand ensures that providing such information and

 documents is both (i) truly needed for the initial screen and (ii) does not unduly burden




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 the filing parties by imposing a higher cost than it returns in benefit to the antitrust

 agencies. The Supreme Court has held that “[n]o regulation is ‘appropriate’ if it does

 significantly more harm than good.”        Michigan v. EPA, 576 U.S. 743, 752 (2015)

 (interpreting statute requiring regulation to be “appropriate and necessary”). Likewise,

 the Fifth Circuit has held that the phrase “necessary and appropriate” “at a minimum

 requires that [a rule’s] benefits reasonably outweigh its costs.” Mexican Gulf Fishing Co.

 v. Department of Com., 60 F.4th 956, 965 (5th Cir. 2023). By using that language in the

 HSR Act, Congress prohibited the FTC from demanding information that will be more

 costly for filing parties to produce than it will be beneficial to the evaluation of the

 transaction.

        39.     This bifurcated statutory design accommodates “the need to detect and

 prevent illegal mergers and acquisitions prior to consummation without unduly burdening

 business with unnecessary paperwork or delays.” S. Rep. No. 94-803, at 65. For the

 initial “notification,” which must be submitted by the buyer and seller for almost every

 reportable transaction, the antitrust agencies may demand only the information that is

 “necessary and appropriate” for them to perform an initial antitrust screen. The antitrust

 agencies have at most 30 days to perform this first step, so it is inevitably abbreviated and

 preliminary. Then, if the initial review reveals a potential concern, the agencies may come

 back and seek a broader universe of material: information “relevant to [the] proposed

 acquisition,” without the “necessary and appropriate” limit. 15 U.S.C. § 18a(e)(1)(A). This

 two-step approach avoids needlessly burdening the thousands of annually reported

 transactions that do not pose any plausible competitive concern. It also ensures that the




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 agencies “efficiently allocate their finite resources to those transactions that truly deserve

 antitrust scrutiny.” 145 Cong. Rec. S13974 (Nov. 4, 1999) (statement of Sen. Hatch)

 (discussing 2000 amendments to the HSR Act).

        40.    When drafting the HSR Act, Congress considered and specifically rejected

 a more intrusive premerger clearance or approval regime, like those that have since been

 adopted in other jurisdictions such as the European Union. One proposal would have

 granted the Commission the authority to obtain a court order temporarily restraining any

 merger subject to the premerger filing requirement.           See 122 Cong. Rec. 68 (1976)

 (statement of Sen. Byrd). The burden of proof would then shift to the merging parties,

 which could proceed with the transaction only if they could show the merger was unlikely

 to violate the antitrust laws. Even the FTC recognized that such a process would deter

 many valuable mergers, and Congress rejected it to avoid that “severe disincentive to

 mergers generally.” S. Rep. No. 94-803, at 213.

        41.    As one DOJ official who was “deeply involved with the negotiations and

 deliberations on HSR” later summarized, Congress’s objective in passing the HSR Act

 was to provide “advance notice to the agencies” along with the “production of a minimal

 amount of easily retrievable information.” Joe Sims & Deborah P. Herman, The Effect of

 Twenty Years of Hart-Scott-Rodino on Merger Practice, 65 Antitrust L.J. 865 (1997). By

 pairing that kind of limited notification with a statutory waiting period, the Act eliminated

 the midnight-merger problem. Congress understood that the system it was creating

 would not catch everything—that some “illegal mergers m[ight] still be consummated,

 despite passage of” the Act. H.R. Rep. No. 94-1373, at 11. But that tradeoff was worth it




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 to ensure that the Act “neither deter[red] nor impede[d] consummation of the vast

 majority of mergers and acquisitions” that do not pose any apparent competitive concern,

 S. Rep. No. 94-803, at 65.

        B.     The Premerger Notification Regime From 1977 To 2024

               1.     The Original HSR Form

        42.    From the outset, the FTC understood that its statutory authority to require

 certain “documentary material and information” in the premerger notification was

 limited. In its first report to Congress regarding the Act, the agency explained that

 drafting the initial form required the FTC to “strike what is often a difficult balance

 between the need of the enforcement agencies” for information “and the cost to the

 persons who must provide such information.” FTC, HSR Report, Annual Report to

 Congress for Fiscal Year 1977 at 3.

        43.    Several months later, the FTC issued a rule publishing the “notification and

 report form” required by the HSR Act. Premerger Notification; Reporting and Waiting-

 Period Requirements, 43 Fed. Reg. 33,450, 33,519 (July 31, 1978). The agency explained

 that it had designed the form to provide it “with the information necessary and

 appropriate for an initial evaluation of the potential anticompetitive impact of an

 acquisition,” and that the form was “not intended to elicit all potentially relevant

 information relating to an acquisition.” Id. at 33,520.

        44.    Still, the 1978 premerger notification form required a substantial amount of

 documentary material and information.          The FTC rejected a request from some

 commenters to limit the form to “a perfunctory notification.” 43 Fed. Reg. at 33,520.




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 Such a limited submission, the agency explained, would not contain enough information to

 allow the agencies to “make even a tentative determination of whether a transaction may

 violate the antitrust laws.” Id.

        45.       At a high level, the 1978 form required the filing parties to:

              •   identify the persons involved and type of transaction;

              •   identify the assets or securities to be acquired and the amount of control
                  that would result;

              •   submit various documents, including certain SEC filings and “all studies,
                  surveys, analyses and reports which were prepared by or for any officer(s)
                  or director(s) . . . for the purpose of evaluating or analyzing the acquisition
                  with respect to . . . competition, competitors, markets, [and] potential for
                  sales growth or expansion into product or geographic markets,” 43 Fed.
                  Reg. at 33,255;

              •   provide revenues broken down by industry, product class, and product;

              •   provide certain information about subsidiaries and shareholders;

              •   identify the geographic areas in which the filer derives revenues in the same
                  industry as the other party;

              •   disclose whether the parties have a supply relationship (i.e., a vertical
                  relationship) and list any relevant products; and

              •   report any acquisitions by the buyer in the prior ten years in industries in
                  which both parties derive significant revenue.

        46.       For the next 46 years, although the FTC would periodically tweak the form

 or the filing instructions at the margins, the required information and documentary

 material “largely stayed the same.” Statement of Chair Lina M. Khan, Comm’r Rebecca

 Kelly Slaughter, and Comm’r Alvaro M. Bedoya Regarding Proposed Amendments to the

 Premerger Notification Form and the Hart-Scott-Rodino Rules at 3 (June 27, 2023). As a

 result, prior to the rulemaking at issue here, the form was “very similar to the original




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 1978 version in its scope and content.” 89 Fed. Reg. at 89,257. Indeed, as the FTC noted

 in the Rule, its minor changes over the years “frequently reduced the burdens associated

 with submitting an HSR form.” Id.

              2.     The Original Form’s Performance

       47.    That longstanding version of the HSR premerger notification form achieved

 Congress’s twin goals. From the information and documentary material required by the

 form, the FTC and DOJ were able to conduct an effective premerger screening program

 that reliably identified potentially problematic transactions. And although preparing the

 form could be costly, “with some hard work and the assistance of experienced HSR

 counsel,” the form could “generally be completed without” inflicting unduly burdensome

 costs and without “jeopardizing the timing or success of the transaction.”          Foley

 & Lardner LLP Comment at 3 (Sept. 21, 2023). To the extent the premerger notification

 program was amended over time, the changes were generally designed to decrease the

 compliance burden in response to constant arguments that costs were excessive.

       48.    The Form’s Effectiveness. For decades, the antitrust bar, the business

 community, and even the antitrust agencies themselves all repeatedly stated that the

 existing reporting scheme facilitated effective premerger review.

       49.    In 1988, on the tenth anniversary of the HSR form’s going into effect, the

 Associate Director of the FTC Bureau of Competition remarked that “the premerger

 notification program ha[d] done all that could have been expected of it,” and that the FTC

 could “ask nothing more or less than that [the program] continue to function as it has in

 the past.” James W. Mullenix, The Premerger Notification Program at the Federal




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 Trade Commission, 57 Antitrust L.J. 125, 125, 131 (1988). A decade later, a director of

 that same Bureau called the premerger program “highly successful,” remarking that it

 “gave the antitrust agencies the tools they need[ed]” and “provided adequate notice of

 proposed mergers.” Baer, Reflections, supra. Another FTC official similarly described

 the HSR process as “hugely successful in achieving its statutory objectives,” David A.

 Balto, Antitrust Enforcement in the Clinton Administration, 9 Cornell J.L. & Pub. Pol’y

 61, 118 (1999), while several practitioners described it as “generally enjoy[ing] the support

 of the antitrust bar and the business community.” William J. Kolasky, Jr. & James W.

 Lowe, The Merger Review Process at the Federal Trade Commission: Administrative

 Efficiency and the Rule of Law, 49 Admin. L. Rev. 889, 897 (1997).

        50.    In 1997, Attorney General Janet Reno and Assistant Attorney General for

 Antitrust Joel Klein formed the International Competition Policy Advisory Committee to

 evaluate, among other things, the different approaches to merger review taken by

 different countries. See International Competition Policy Advisory Committee, Final

 Report to the Attorney General and Assistant Attorney General for Antitrust (2000)

 (ICPAC Report).      The final report relayed that the “business and bar association

 representatives who appeared before the Advisory Committee [had] emphasized” that the

 U.S. premerger “review process [was] ‘fundamentally sound.’” Id. at 140 n.127.

        51.    In 2001, the FTC and DOJ submitted a report to Congress in which they

 summarized their “ongoing reassessment of the effects of the premerger notification

 program.” FTC and DOJ, HSR Report, Annual Report to Congress for Fiscal Year 2001

 at 28. The agencies explained that “the HSR Act is doing what Congress intended” and




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 had been “highly effective” in “giving the government the opportunity to investigate and

 challenge mergers . . . before injury can arise.” Id.

           52.      In 2002, Congress created a bipartisan commission to report on which

 aspects of antitrust law required modification, including the HSR reporting system.

 Antitrust Modernization Commission Act of 2002, Pub. L. No. 107-273, 116 Stat. 1758

 (2002).         The members of the Commission were appointed by the President and

 congressional leaders with the goal of ensuring “fair and equitable representation of

 various points of view.” Id. § 11054(h). Among them were outside and in-house antitrust

 counsel, agency officials, and academics. In its 2007 report, the Commission concluded

 that “the existing pre-merger review system under the HSR Act [was] achieving its

 intended objectives,” and recommended no changes to “the initial filing requirements.”

 Anti-trust Modernization Comm’n, Report and Recommendations 158-159 (2007) (AMC

 Report). The report found that the existing process was “widely recognized as having

 made merger enforcement far more effective.” Id. at 151. In particular, the Commission

 stated, the premerger regime “ensure[d] that the agencies are aware of nearly every

 transaction that has potential to cause competitive harm,” id. at 152, and effectively

 “facilitate[d] review of” reported transactions, id. at 160.

           53.      The FTC itself continued to echo that conclusion to Congress in its annual

 budget requests up until quite recently. The agency explained that “[i]n the majority of

 cases, [it] can make a reasonable judgment within a few days about whether a merger is

 potentially anticompetitive based on information provided in the HSR filing.”          FTC,

 Congressional Budget Justification Fiscal Year 2024 at 55 (emphasis added). That left




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 plenty of time in the 30-day waiting period for the FTC to “consider which matters

 require further action,” including the possible issuance of a Second Request. Id. at 56.

 The FTC included the same language in each budget request going back to at least 2013.

 See, e.g., FTC, Congressional Budget Justification Fiscal Year 2021 at 136; FTC,

 Congressional Budget Justification Fiscal Year 2013 at 107.

        54.    As recently as August 2024, the FTC’s own introductory guide to the

 premerger review process—available on its website—proclaimed that the HSR “Program

 has been a success.” 2009 FTC Guide 2. The guide explained:

               Compliance with the Act’s notification requirements has been
               excellent, and has minimized the number of post-merger
               challenges the enforcement agencies have had to pursue. In
               addition, although the agencies retain the power to challenge
               mergers post-consummation, and will do so under appropriate
               circumstances, the fact that they rarely do has led many
               members of the private bar to view the Program as a helpful
               tool in advising their clients about particular acquisition
               proposals.

 The FTC deleted that language in August 2024, presumably because commenters had

 pointed it out in comments urging the agency to withdraw the Rule.

        55.    Comprehensive data on the operation of the premerger notification

 program confirm its effectiveness. From 2001 to 2020, there were 31,530 transactions

 reported to the antitrust agencies.       Logan Billman & Steven C. Salop, Merger

 Enforcement Statistics: 2001-2020, 85 Antitrust L.J. 1, 10 (2023). The agencies issued a

 Second Request for only 3.1% of those transactions. Id. Of those 969 transactions,

 roughly 7 in 10 were abandoned, resulted in a consent decree, or went to trial. Id. at 6.




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        56.    The premerger program also yielded vanishingly few cases that the

 antitrust agencies viewed as false negatives—that is, transactions that did not receive a

 Second Request, but that the agencies later saw the need to challenge at some point after

 the transaction had closed. Plaintiffs are aware of only five HSR-reportable transactions

 dating back to the year 2000 that fit that description, out of 39,962 total reported deals.

 See Foley Lardner Comment at 3. At most, then, the antitrust agencies’ false-negative

 rate for the past two decades was .01 percent, or a single miss every 4.5 years on average.

 And there are good reasons to conclude that four of those five transactions would have

 slipped through regardless of the content of the premerger notification form. See id.

        57.    Concerns About Cost.      Given the exceptional performance of the prior

 premerger notification form in facilitating effective screening, it should not be surprising

 that many observers considered the form already too burdensome.

        58.    As noted above, despite its relatively targeted nature, the prior version of

 the form still required a substantial amount of time and effort for many filers. In 2011,

 the FTC estimated that completing the premerger notification form required, on average,

 approximately 37 hours per filing. 76 Fed. Reg. 42,471, 42,479 (July 19, 2011). A 2023

 survey of 70 antitrust practitioners put the number at more than twice that. The survey

 found that, on average, company personnel spent an estimated 30.4 hours and outside

 counsel an estimated 54.3 hours to prepare the prior form, for a total of 84.7 hours. U.S.

 Chamber of Commerce, HSR/Merger Guides Practitioner Survey (Sep. 2023) (U.S.

 Chamber Practitioner Survey), https://www.uschamber.com/antitrust/antitrust-experts-

 reject-ftc-doj-changes-to-merger-process. Those practitioners also reported an average




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 amount of time to prepare the HSR filing of 10.7 days. And these are just averages;

 preparing the filings for each side of a transaction would often take much longer,

 sometimes into the hundreds of hours. See Foley Lardner Comment at 3. That would be

 true, for example, of “a company with multiple product lines, subsidiaries or affiliates.”

 ICPAC Report at 118.

        59.    Even assuming the Congress that wrote the HSR Act intended something

 like that amount of effort, it plainly did not anticipate how broadly that burden would fall.

 The Congress that wrote the HSR Act expected that the premerger notification

 requirements would “appl[y] only to approximately the largest 150 mergers annually.”

 H.R. Rep. No. 94-1373 at 11.         Legislators on all sides agreed that if the Act’s

 “requirements were imposed on every merger, the resulting added reporting burdens

 might more than offset the decrease in burdensome divestiture trials” the statute was

 designed to prevent. Id. The Senate Report was even firmer. It stated that requiring

 submissions from “the bulk of the approximately 3,000 mergers that ha[d] occurred

 annually in the course of the past several years would,” “in the [Judiciary] Committee’s

 judgment, impose an undue and unnecessary burden on business.” S. Rep. No. 94-803, at

 66.

        60.    Within a decade, however, a combination of inflation, growth in deal sizes,

 and growth in M&A activity led to that exact scenario—thousands of transactions a year

 above the fixed dollar reporting thresholds that the HSR Act had originally set. In 1987,

 there were 2,533 transactions reported under the HSR Act. FTC, HSR Report, Annual

 Report to Congress for Fiscal Year 1987 at 23. Eleven years later, in 1998, there were




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 4,728. FTC, HSR Report, Annual Report to Congress for Fiscal Year 1998 at 3. Although

 the FTC frequently tweaked the form in ways that slightly “lessen[ed] the burden of

 complying,” FTC, HSR Report, Annual Report to Congress for Fiscal Year 2001 at 4, it

 never promulgated the kind of major revisions that would have been necessary to realign

 the burden to what Congress originally had anticipated.

       61.    As a result, the substantial burden of completing the HSR premerger

 notification now fell indiscriminately on thousands of transactions, the vast majority of

 which obviously posed no antitrust problem and only a handful of which ever received any

 real scrutiny from the antitrust agencies.      As noted above, only 3% of reported

 transactions from 2001 to 2020 received a Second Request. That percentage was similar

 going back to 1990 and even earlier years.         FTC, HSR Report, Annual Report to

 Congress for Fiscal Year 1999 at 6. Only 15.3% of transactions from 2001 to 2020 even

 triggered what is known as agency “clearance,” the formal first step that allows either

 DOJ or the FTC to begin looking into the merger further. Billman & Salop, supra, at 12;

 AMC Report at 156. Year after year, thousands of buyers and sellers spent significant

 time and money preparing an HSR filing that did not get much more than a cursory

 glance.

              3.     Congress’s Amendments To The HSR Act

       62.    In 2000, a bipartisan Congress stepped in to “provide[] significant

 regulatory and financial relief for businesses.”    146 Cong. Rec. 24253 (Nov. 4, 1999)

 (statement of Sen. Hatch).    The 2000 amendments to the HSR Act were the only




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 significant changes that Congress has made to the statute to date. Pub. L. No. 106-553

 § 630, 114 Stat. 2762. The legislation made three basic amendments.

        63.    First, Congress raised the thresholds for filing a premerger notification and

 indexed them to growth in gross national product. See 15 U.S.C. § 18a(a)(2).

        64.    Second, Congress created additional protections for filers in connection with

 Second Requests. Most notably, it required that the investigating agency appoint a

 disinterested official to “hear any petition” from a Second Request recipient arguing that

 such request was “unreasonably cumulative, unduly burdensome, or duplicative.”

 15 U.S.C. § 18a(e)(1)(B)(i).

        65.    Third, Congress instructed both DOJ and the FTC to examine other parts

 of the premerger process, including the premerger notification form, and to “implement

 reforms . . . in order to eliminate unnecessary burden, remove costly duplication, and

 eliminate undue delay, in order to achieve a more effective and more efficient merger

 review process.” Pub. L. No. 106-553 § 630(c).

        66.    In response, the FTC made what it called “several relatively minor, but

 welcomed, improvements to . . . the filing form” to “make it more user-friendly,”

 “eliminat[e] unnecessary items,” and “clarify[] the instructions.” 2001 HSR Report at 8,

 10. The agency removed only one category of information that it had required in the

 original form: “information about any vendor-vendee relationship between the reporting

 parties during the most recent year with respect to any manufactured product.” 66 Fed.

 Reg. 8,680, 8,686 (Feb. 1, 2001). Such information was originally “intended to alert the

 enforcement agencies to the potential risks of vertical foreclosure or increased vertical




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 integration,” but “the agencies ha[d] found that they ha[d] not needed to rely on [the

 requested information] to learn about transactions that present vertical concerns.” Id.

 The FTC also noted that providing the vendor-vendee information placed a particular

 burden on “large diversified persons that may purchase from other” parties to the

 transaction “a wide variety of manufactured products through numerous subsidiaries and

 divisions.” Id.

        67.    Congress did not amend the HSR Act again until 2023 with the Merger

 Filing Fee Modernization Act, which made two notable, minor changes. See Pub. L. 117-

 328 Div. GG § 101, 136 Stat. 4459 (2022). First, Congress reduced the filing fees for

 smaller transactions and raised them for the very large ones. Id. According to its

 sponsors, that change was intended to “incentiviz[e] mergers between small and medium-

 sized enterprises” and help them “grow and compete against large companies.” 168 Cong.

 Rec. H8264 (Sept. 29, 2022) (statement of Rep. Jackson Lee). Second, Congress directed

 the FTC to add a new requirement to the premerger form requiring disclosure of any

 subsidy that any party to the transaction had received from certain designated foreign

 nations and entities. Pub. L. 117-328 Div. GG § 202.

                               THE FTC’S RULEMAKING

        A.     The Proposed Rule

        68.    On June 27, 2023, the FTC issued a Notice of Proposed Rulemaking to

 amend the HSR premerger notification form. See Proposed Rulemaking, Premerger

 Notification; Reporting and Waiting Period Requirements, 88 Fed. Reg. 42,178

 (published June 29, 2023) (NPRM).




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           69.   In the NPRM, the FTC stated that its “proposed changes would result in a

 redesign of the premerger notification process through both a reorganization of the

 information currently required and the addition of new information and document

 requirements.” 88 Fed. Reg. at 42,178. The FTC also proposed changes to implement the

 recent Merger Filing Fee Modernization Act.          The agency “note[d] that since the

 implementation of the Act and Rules in the late 1970s, there has never been a large-scale

 reorganization of the information required in an HSR Filing,” and explained that it was

 now “proposing a comprehensive redesign of the premerger notification process.” Id. at

 42,180.

           70.   That was, somehow, an understatement. The NPRM proposed dozens of

 major and unprecedented changes to the premerger notification form. Those proposals

 included, by the FTC’s own count, no fewer than 34 “proposed new requirements and

 categories of information,” 88 Fed. Reg. at 42,185-42,186, virtually all of which the FTC

 had never previously required as part of the initial HSR filing. The FTC also proposed to

 add a new “certification” requiring the filer to swear under penalty of perjury that it had

 “taken the necessary steps to prevent the destruction of documents and information

 related to the transaction.” Id. at 42,206, 42,218. The purpose of this new provision was to

 effectively create a litigation-style document hold for every HSR-reportable transaction.

           71.   Proposed Additions to the HSR Form.          Among others, the proposed

 additions included requiring each filer to submit: several “narratives” describing and

 analyzing the competitive impacts of the transaction; detailed information on existing and

 planned products and services; details (including contact information) on customers and




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 suppliers; all drafts of transaction-related documents that went to various important

 persons within the filing entity; numerous types of ordinary-course (that is, not

 transaction-related) documents analyzing various aspects of the filer’s business going

 back one year; information on employees and their commuting areas; a list of past

 workplace safety or labor violations; a list of all officers, directors, and board observers at

 every subsidiary along with detailed information about each of those individuals; “doing

 business as” names going back three years for all controlled entities within the filer; the

 names of all holders of more than 5% of each of those entities, including limited partners;

 information on creditors and other supposed “interest holders that may exert influence,”

 88 Fed. Reg. at 42,189; detailed organizational charts and diagrams of the transaction;

 and a list of all communications systems used by either party to transmit business-related

 information.

        72.       In more detail, the NRPM proposed to require all filing parties to:

              •   Provide “a narrative that would identify and explain each strategic rationale
                  for the transaction,” 88 Fed. Reg. at 42,191;

              •   Provide a “Horizontal Overlap Narrative” that would “list each current or
                  known planned product or service that competes with (or could compete
                  with) a current or known planned product of the other filer,” 88 Fed. Reg. at
                  42,196;

              •   Provide “sales, customer information (including contacts), a description of
                  any licensing arrangements, and any non-compete or non-solicitation
                  agreements applicable to employees or business units” related to any
                  identified “overlapping” product, 88 Fed. Reg. at 42,196;

              •   Provide a “narrative” to explain the supply relationships between the filing
                  parties in the last two fiscal years, including information on the filer’s sales
                  or purchases of “each product, service, or asset (including data)” to or from
                  the other party and “any other business that, to the filing person’s




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              knowledge or belief, uses its product” to compete or as an input, 88 Fed.
              Reg. at 42,214;

          •   Provide a list of the “top 10 customers” or “top 10 suppliers” of those
              products, services, or assets and their “contact information (including title,
              phone, and email),” 88 Fed. Reg. at 42,215;

          •   Submit all drafts of any required transaction-related document—including
              “studies, surveys, analyses, and reports” which were “prepared by or for
              any officer(s) or director(s) . . . for the purpose of evaluating or analyzing
              the acquisition”—that were “sent to an officer, director, or supervisory deal
              team lead(s),” 88 Fed. Reg. at 42,214;

          •   Submit so-called “periodic plans and reports” that were not created in
              contemplation of the transaction, including all “semi-annual and quarterly
              plans and reports that discuss market shares, competition, competitors, or
              markets of any product or service that is provided by both” the buyer and
              seller that were “shared with a chief executive,” “certain individuals who
              report directly to a chief executive,” or the board of directors (or similar
              body or persons), within one year of filing, 88 Fed. Reg. at 42,195;

          •   Provide a list of all NAICS (North American Industry Classification
              System) codes for all products “that are under development or pre-revenue
              and anticipated to have annual revenue totaling more than $1 million within
              the following two years,” 88 Fed. Reg. at 42,199;

          •   Provide the aggregate number of the filer’s employees in each of the five
              largest Department of Labor occupational categories, indicate each
              “commuting zone in which both parties employ workers” in any such
              category, and “provide the aggregate number of [such] employees in each”
              category, 88 Fed. Reg. at 42,215;

          •   Identify “any penalties or findings issued against” the filer by the
              Department of Labor, National Labor Relations Board, or Occupational
              Safety and Health Administration in the last five years, as well as any such
              pending matters, 88 Fed. Reg. at 42,215;

          •   Submit “all agreements” between the filing parties and any of their
              subsidiaries “in effect at the time of filing or within the year prior to the
              date of filing,” regardless of their relationship to the transaction, 88 Fed.
              Reg. at 42,193;




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          •   Name all “officers, directors, and board observers” (or those “exercising
              similar functions”) for the filing entity and all subsidiaries over the past two
              years, 88 Fed. Reg. at 42,212;

          •   List “all other entities for which” every identified “individual serves, or has
              served within the last two years, as an officer, director, or board observer,”
              88 Fed. Reg. at 42,212;

          •   Identify all entities that, in relation to the transaction, would “(i) provide
              credit” “totaling 10% or more of the value of the entity in question”;
              (ii) “hold non-voting securities, options, or warrants” above the same 10%
              convertible value; (iii) serve as “board members or board observers, or have
              nomination rights for board members or board observers”; or (iv) “have
              agreements to manage entities related to the transaction,” 88 Fed. Reg. at
              42,189;

          •   Disclose and provide certain information about all prior acquisitions above a
              certain size within the past 10 years of entities that either earned revenue in
              any NAICS category overlapping with the buyer or seller or produced a
              product described in the “Horizontal Overlap Narrative,” 88 Fed. Reg. at
              42,217;

          •   Submit “a diagram of the transaction and provide a chart explaining the
              relationship between all entities and/or natural persons involved in the
              transaction,” 88 Fed. Reg. at 42,213;

          •   Create and submit organizational charts identifying the authors of all
              submitted documents and noting all individuals who were “searched for
              responsive documents,” 88 Fed. Reg. at 42,195, 42,214;

          •   For transactions where a fund or master limited partnership is the ultimate
              parent entity, create and file an “organizational chart sufficient to identify
              and show the relationship of all entities that are affiliates or associates,” 88
              Fed. Reg. at 42,211;

          •   Provide the current “doing business as” names of all entities within the filer
              with at least $10 million of assets, as well as all such names used within the
              past three years, 88 Fed. Reg. at 42,211;

          •   Provide the names of all holders of more than 5% interest in any entity that
              controls the filer or is controlled by the filer, and earns revenue in the same
              industry code as the other party. This would include limited partners in a
              limited partnership. 88 Fed. Reg. at 42,188, 42,211-42,212;




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             •   List “all communications systems or messaging applications on any device
                 used” by either merging party that “could be used to store or transmit
                 information” related to their businesses, 88 Fed. Reg. at 42,217; and

             •   Certify under penalty of perjury that the merging parties had taken all
                 necessary steps to prevent the destruction of any documents or information
                 relating to the transaction, 88 Fed. Reg. at 42,206, 42,218.

       73.       It is no exaggeration to say that the NPRM contemplated converting every

 premerger notification form into a slightly less burdensome version of a Second Request,

 even though the vast majority of HSR-reportable transactions pose no antitrust risk.

       74.       Discussion Of Cost. The FTC recognized that, if adopted, the proposed

 changes to the HSR premerger notification form would significantly increase the time and

 cost of preparing the form for every reportable transaction. 88 Fed. Reg. at 42,207. The

 NPRM reported that the FTC had “canvassed current Agency staff who had previously

 prepared HSR filings while in private practice to estimate the projected change in

 burden.” Id. The FTC’s cost analysis thus consisted of asking its own lawyers to estimate

 how much more time per filing the proposed rule would impose.

       75.       Even that unscientific approach produced eye-opening numbers.          The

 FTC’s staff “estimated that the proposed changes would result in approximately 12 to 222

 additional hours per filing”—or up to a seven-fold increase over the agency’s “current

 estimate” of 37 hours to prepare the existing form. 88 Fed. Reg. at 42,208 (emphasis

 added). The FTC projected that the average increase in preparation time for the average

 transaction would be 107 hours. Id. But it acknowledged that the 222-hour estimate

 would likely apply to as many as 45% of all filings: the proportion that would have




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 “reported overlaps” between the buyer and seller that would require significant additional

 work in response to the new document and information requests. Id.

        76.      To calculate the additional dollar cost, the FTC assumed an “hourly wage of

 $460 for executive and attorney compensation” for these additional hours and multiplied

 that figure by the average of 107 additional hours. 88 Fed. Reg. at 42,208. Those very low

 estimates still led to a projected total cost of the NPRM of $350 million per year,

 assuming roughly 3,500 annual HSR-reportable transactions (and thus roughly 7,000

 filings). Id.

        77.      Need For The Rule. The NPRM asserted “that the information currently

 reported in an HSR filing is insufficient.” 88 Fed. Reg. at 42,179. According to the FTC,

 the “current Form does not provide [its] staff with complete information,” including on

 “the full range of potential competitive implications of the transaction.” Id. at 42,180.

 These “shortcomings” required Agency staff to “often rely on voluntary cooperation from

 third parties—customers and competitors of the merging parties—during the initial

 waiting period,” and to “conduct independent research using publicly available

 information.” Id. “Neither of these,” the NPRM claimed, was “reliable as a substitute for

 information provided by the parties themselves.” Id.

        78.      The agency posited that “several factors” had caused “the challenges of

 premerger review [to] expand[] considerably over time.” 88 Fed. Reg. at 42,179. First,

 “there has been tremendous growth in sectors of the economy that rely on technology and

 digital platforms, where “mergers and acquisitions . . . present a unique challenge.” Id.

 Second, “the very nature of HSR-reportable transactions has become more complex over




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 time.” Id. Third, “most international jurisdictions have merger filing forms that ask filers

 to provide significantly more information” than the original and pre-amendment HSR

 form required. Id. at 42,180. Finally, the FTC cited President Biden’s “Executive Order

 on Promoting Competition” and explained that it has “stepped up efforts to review

 transactions for all their potential competitive effects,” “responding to evidence that the

 U.S. economy is becoming increasingly concentrated overall.” Id. at 42,179.

        79.    All told, the FTC claimed, its proposed “reorganization and collection of

 additional information in HSR Filings” was “necessary and appropriate in order for the

 Agencies to vigorously enforce the nation’s antitrust laws.” 88 Fed. Reg. at 42,180.

        B.     Commenters Raise Grave Concerns

        80.    The NPRM generated a substantial outcry, with hundreds of commenters

 urging the FTC to withdraw or substantially revise the proposed changes to the

 premerger notification form. These commenters included many members of the antitrust

 bar and representatives from all corners of American industry. Among others, the FTC

 received critical comments from many law firms; the In-House Competition Lawyers

 Association; the American Bar Association’s Antitrust Law Section; the International Bar

 Association’s Antitrust Section; major trade associations representing business,

 technology, healthcare, manufacturing, retail, telecommunications, investment managers,

 private equity, and venture capital; and numerous think tanks and academics.

        81.    These commenters made many of the same points. They argued that the

 FTC’s proposed “comprehensive redesign” of the premerger form went far beyond the

 agency’s statutory authority to require only information that is “necessary and




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 appropriate to enable” the FTC and DOJ to perform an initial antitrust screen. 15 U.S.C.

 § 18a(d)(1). They explained that the FTC had massively underestimated the direct costs

 (and ignored the indirect costs) of collecting, analyzing, and submitting the new

 information and documentary material required by the NPRM. They reiterated what had

 been the five-decade consensus that “[e]xisting HSR reporting requirements

 appropriately balance the need for antitrust review and the benefits of economic activity.”

 National Retail Federation (NRF) Comment at 2 (Sept. 27, 2023). And they noted that, in

 light of that consensus, the agency had not come close to justifying the imposition of a

 massive new burden on every HSR-reportable transaction, most of which are clearly

 lawful. Id. at 2-3.

        82.     Commenters also asserted that the FTC did not appear to recognize the

 real limits that the HSR Act places on its authority to request information.          AIC

 Comment at 5-7; U.S. Chamber Comment at 7. In the NPRM, the FTC had claimed that

 its additions to the premerger form were “necessary and appropriate in order for the

 Agencies to vigorously enforce the nation’s antitrust laws.” 88 Fed. Reg. at 42,180. But

 that “is not the statutory test.” AIC Comment at 7. Rather, the FTC may require

 information if “relevant to a proposed acquisition,” to “determine whether such

 acquisition may, if consummated, violate the antitrust laws.”       15 U.S.C. § 18a(d)(1)

 (emphasis added).

        83.     Many commenters also argued that the NPRM would require submission of

 documents and information that did not satisfy the HSR Act’s “necessary and

 appropriate” test. Commenters maintained that much of the newly requested information




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 was in no way “necessary” to enable an initial assessment of the legality of the proposed

 transaction, and that requiring such information was not “appropriate” because it would

 impose a significant cost on all filing parties in return for little if any benefit to the

 antitrust agencies. AIC Comment at 5-7; U.S. Chamber Comment at 48-49; Business

 Roundtable Comment at 3; Wachtell, Lipton, Rosen, and Katz Comment at 3 (Sept. 26,

 2023).

          84.   Commenters also asserted that certain discrete proposals exceeded the

 FTC’s authority for other reasons. For example, several maintained that requiring filers

 to prepare “narrative” responses containing legal arguments that might be contested by

 the agencies went beyond the concept of a “premerger notification.” 15 U.S.C. § 18a

 (emphasis added); U.S. Chamber Comment at 29-30; In-House Competition Lawyers

 Association (ICLA) Comment at 22-23 (Sept. 27, 2023); Wachtell Comment at 14-16. They

 also argued that the FTC had no authority to compel information on boards of directors.

 AIC Comment at 13-14; Wachtell Comment at 17-18.

          85.   Many commenters separately noted that the FTC had not conducted any

 meaningful cost-benefit analysis of either the NPRM as a whole or on an individual level

 for the many new categories of information and documents required. AIC Comment at

 24-25; Business Roundtable Comment at 7-8; U.S. Chamber Comment at 20-21; Wachtell

 Comment at 3, 18-21. Commenters also asserted that any serious analysis would show

 that the costs far outstripped the benefits.

          86.   The U.S. Chamber’s comment explained that it had engaged Professor S.P.

 Kothari of the MIT Sloan School of Management, former Chief Economist of the




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 Securities and Exchange Commission, to analyze “the burdens the proposed changes

 would impose on filing parties.” U.S. Chamber Comment at 2. The U.S. Chamber also

 conducted a survey of antitrust practitioners. Both the survey responses and Professor

 Kothari’s analysis indicated that “the FTC ha[d] vastly underestimated the burdens

 associated with the NPRM,” id., because of the “many notable deficiencies” in the FTC’s

 informal approach of merely surveying its own staff, Kothari Report ¶ 36. Professor

 Kothari concluded that the average amount of time to prepare the revised premerger

 form would be 326 hours, not 144 hours as the FTC had estimated. Id. ¶ 45. He also

 estimated that the average hourly cost would be $936, more than double the FTC’s

 estimate. Id. ¶ 46.

        87.    Putting it all together, Professor Kothari projected an average additional

 cost per transaction of $437,314—nearly seven times the FTC’s estimate of $66,240.

 Kothari Report ¶ 51. Assuming the same 3,500 or so HSR-reportable transactions per

 year, that meant an annual cost of over $2.3 billion, “even before consideration of indirect

 costs” that the NPRM would impose on “innovation and entrepreneurial activity” by

 “dissuad[ing] potential transactions from occurring.” Id. ¶¶ 52, 55.

        C.     The Final Rule

        88.    On October 10, 2024, the FTC voted to finalize the proposed rule. See

 Premerger Notification; Reporting and Waiting Period Requirements, 89 Fed. Reg. at

 89,216 (published Nov. 12, 2024) (Final Rule).

        89.    Although the FTC made certain modifications to decrease the burden on

 filers relative to the NPRM, it still candidly described the Rule as “reset[ting] the




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 baseline requirements for all filers.” 89 Fed. Reg. at 89,260. And it recognized—albeit

 with studied understatement—that the “incremental costs associated with this

 rulemaking are more material than its prior rulemakings, which frequently reduced the

 burdens associated with submitting an HSR Form.” Id. at 89,257.

               1.       Three Categories of Transactions

        90.    The Final Rule created three new categories of premerger filings each

 subject to a progressively more burdensome version of the notification form. The three

 categories, in ascending order of burden, are: “(1) select 801.30 transactions, (2) those

 transactions that will have no NAICS or described overlaps or supply relationships, and

 (3) transactions that report a NAICS or a described overlap, or a supply relationship.” 89

 Fed. Reg. at 89,263.

        91.    The first category of “select 801.30 transactions” covers “transactions that

 do not result in the acquisition of control” and “where there is no agreement or

 contemplated agreement between any entity within” the buyer and seller. 89 Fed. Reg. at

 89,278. Examples include “a traditional executive compensation arrangement where the

 executive exercises contractual benefits . . . to acquire voting securities and nothing

 more.” Id. Under the Rule, select 801.30 transactions have only “minimal reporting

 requirements.”     Id. at 89,261.      But the FTC estimates that only 8% of reportable

 transactions qualify. Id. at 89,333.

        92.    The second category covers all transactions that are neither overlap

 transactions nor select 801.30 transactions. 89 Fed. Reg. at 89262, 89264. The FTC

 estimates this category will include 47% of HSR filings. Id. at 89,333.




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        93.    The third, “overlap transaction” category covers all transactions in which

 the parties have identified any horizontal overlap (whether based on NAICS industry

 codes or the parties’ descriptive narratives) or supply relationship between (i) the buyer,

 any entity controlled by the buyer, and any entity in which the buyer holds between 5%

 and 50% of the voting securities; and (ii) the seller, any entity controlled by the seller, and

 any entity in which the seller holds between 5% and 50% of the voting securities. 89 Fed.

 Reg. at 89,376. Parties to overlap transactions face the heaviest burden in completing the

 new premerger form. In the Rule, the FTC estimated that the overlap category would

 include 45% of HSR filings. Id. at 89333. Thus, although the Rule touted the creation of

 separate transaction categories as “the primary means of mitigating the costs of reporting

 certain new information,” id. at 89,261, the most heavily burdened category still amounts

 to just under half of all reported transactions—or at least 1,000 per year at current levels

 of M&A activity.

               2.     The New Requirements

        94.    Depending on how one counts, the FTC retained with some modification at

 least 20 of the 34 additions to the premerger notification form the agency had originally

 proposed. See 89 Fed. Reg. at 89,264. The Final Rule also kept many of the most

 burdensome additions with minimal, if any, modifications.

        95.    Transaction Rationale. The Final Rule retained without any change the

 requirement that filers submit a narrative response “describ[ing] all strategic rationales

 for the transaction.” 89 Fed. Reg. at 89,299. That requirement also mandates that filers

 “identify which documents submitted with the HSR Filing support the rationale(s)




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 described in the narrative.”    Id.    The Final Rule states that “if documents provide

 inconsistent rationales, filers should address these inconsistencies.” Id.

        96.    Ordinary Course Documents (Periodic Plans and Reports). The Final

 Rule retained with a very small change the NPRM’s creation of a new category of “plans

 and reports” generated by the filer’s business but not “created specifically for analyzing

 the filed-for transaction.” 89 Fed. Reg. at 89,303. Thus, all filers must submit, going back

 one year, “all regularly prepared plans and reports that were provided” to the CEO or

 board of directors of the filer (or the CEO or board of any entity the filer controls or is

 controlled by), if those documents “analyze market shares, competition, competitors, or

 markets pertaining to any product or service” that the other party “also produced, sold,”

 or is “known to be” developing. Id. at 89,371, 89,386.

        97.    The FTC made one tweak to this requirement as compared to the NPRM:

 it “dropp[ed] the need to collect and produce documents from any person who reports

 directly to the relevant CEO.”        89 Fed. Reg. at 89,304.    That way, the Final Rule

 explained, only the CEO and entire board of directors of each party to the transaction—as

 well as the CEO and directors of all entities that control or are controlled by each party—

 will need to be “custodians” when the parties to the transaction use “forensic document

 technology” to comply with this requirement. Id. The FTC stated that it considered that

 “reduced” burden more “manageable.” Id.

        98.    Drafts of Transaction-Related Documents.           Although the Final Rule

 purported to remove the NPRM’s requirement that filers provide all draft versions of

 transaction-related documents, the Rule effectively took back much of that concession. It




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 “clarifies that any” transaction-related document that “was shared with any member of

 the board of directors (or similar body)” “should not be considered a draft” but rather “a

 final version,” and therefore should be “submitted with the HSR Filing.” 89 Fed. Reg. at

 89,303. Thus, filers must provide all earlier draft versions of any covered document

 shared with any board member or member of a “similar body,” even if the actual final

 version is already being included in the HSR filing.

        99.       “Transaction-Related Documents” include:

              •   any “studies, surveys, analyses, and reports” prepared “for the purpose of
                  evaluating or analyzing the acquisition with respect to market shares,
                  competition, competitors, markets, potential for sales growth, or
                  expansion,” prepared by or for any officer, director, or “supervisory deal
                  team lead”;

              •   similar documents prepared by “third party advisors” going back one year;

              •   “confidential information memoranda prepared by or for any officer(s) or
                  director(s)” of the buyer “that specifically relate to the sale of the target,”
                  or, if no such document exists, “any document(s) given to any officer(s) or
                  director(s) . . . meant to serve th[at] function”; and

              •   all “studies, surveys, analyses, and reports evaluating or analyzing
                  synergies, and/or efficiencies prepared by or for any officer(s) or director(s)
                  . . . for the purpose of evaluating or analyzing the acquisition.”

 89 Fed. Reg. at 89,370-89,371, 89,386-89,387.

        100.      Although the Final Rule did not expand the required Transaction-Related

 Documents, its redefinition of the concept of a “draft” significantly expanded the volume

 of such documents that must be provided with the premerger form. It also massively

 increased the burden for all filers of finding, compiling, reviewing, and ultimately

 submitting those documents as part of preparing the HSR submission.




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           101.   D/B/A Names and Minority Interest Holders. The Final Rule adopted the

 proposal to require additional information about related entities and minority holders

 with some modifications. The Rule retained the requirement to provide “doing business

 as” names for all entities within both filers with assets over $10 million, but eliminated the

 requirement to also provide such names going back three years. 89 Fed. Reg. at 89,292.

 The Rule also mandates disclosure of holders of over 5% of any entity controlled by, or

 that controls, the filer, if that entity overlaps with the other party—including, if

 applicable, limited partners in a limited partnership. Id. at 89,288. The Rule did modify

 that limited-partner obligation so that it applies only to limited partners with the right to

 serve as, nominate, appoint, veto, or approve board members or their equivalent. Id. at

 89,384. Nevertheless, the Final Rule is still a major expansion over the prior form, which

 always required limited partnerships to disclose at most their general partners. Id. at

 89,288.

           102.   The Final Rule recognized that these changes to the form would be

 particularly burdensome for private equity funds and other similar investment vehicles, as

 well as large conglomerates, but concluded that the FTC “need[s] to know about” any

 investor who either “holds a small but significant stake (five percent or more) or plays a

 role” in the filer’s decisionmaking. 89 Fed. Reg. at 89,267.

           103.   Overlap Description. The Final Rule also retained with minor changes the

 new requirement that filers list and describe “each of the current or known planned

 products or services . . . that competes with (or could compete with) a current or known

 planned product or service of” the other party. 89 Fed. Reg. at 89,371, 89,387. In




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 transactions involving large companies, the Overlap Description might “identif[y]

 hundreds of products or services.” Id. at 89,311. For each “product or service listed,” the

 filer must then provide:

            •   the “sales (in dollars) for the most recent year” or, if pre-revenue,
                projections;

            •   a “description of all categories of customers of the [filer] that purchase or
                use the product or service (e.g., retailer, distributor, broker, government,
                military, educational, national account, local account, commercial,
                residential, or institutional),” or detailed information on the product or
                service’s development stage;

            •   the “top 10 customers in the most recent year (as measured in dollars)”; and

            •   the “top 10 customers for each customer category identified.”

 Id. at 89,371-89,372, 89,387.

        104.    The Final Rule claimed to have “made significant modifications to the

 Overlap Description to reduce the cost to filers,” 89 Fed. Reg. at 89,315, but that again

 overstates things. The FTC touted the fact that, compared to the NPRM, the Final Rule

 limits reporting from “the two most recent fiscal years” to “the most recent fiscal year,”

 allows sales information to be reported in “only dollars” rather than “in units,” and

 “eliminate[s] the requirement[s]” to “provide individual contact information for

 customers,” “describe licensing agreements and non-compete or non-solicitation

 agreements,” and “provide an estimate of how much of the product or service each

 customer category purchased or used monthly for the last fiscal year.” Id. Even with

 those modest changes, the Overlap Description will be very burdensome for filers.

        105.    Supply Relationships Description.      The Final Rule also kept the new

 mandate that “each filing person . . . provide information about existing or potential



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 purchase or supply relationships between the filing persons.” 89 Fed. Reg. at 89,317.

 Specifically, that new category requires the filer to describe “each product, service, or

 asset” that the buyer has “sold, licensed, or otherwise supplied” at over $10 million in

 revenue in the most recent year to either (i) the other party, or (ii) any other business that

 uses the filer’s products or services as an input to compete against the other party. Id. at

 89,372, 89,387. For each such product, the filer must then provide:

            •   The sales (in dollars) for the most recent year, or projections if applicable;

            •   A description of “all categories of customers of the target that purchase or
                use the product or service,” or detailed information on the product or
                service’s development stage;

            •   the “top 10 customers in the most recent year (as measured in dollars)”; and

            •   the “top 10 customers for each customer category identified.”

 Id. at 89,372, 89,387.

        106.    The filer must also provide what is essentially the flip side of the coin, if

 applicable: a description of all products, services, or assets that the filer uses as an input

 in its own business and has purchased from either (i) the other party, or (ii) any other

 business that competes with the other party as a supplier of the relevant input. 89 Fed.

 Reg. 89,372, 89,388. And then again, for each such product, regardless of whether either

 party has any appreciable market position, the filer must provide:

            •   “The purchased amount (in dollars)”; and

            •   The top 10 suppliers for the relevant product, service, or asset, “and a
                description of” the terms on which the filer obtains that input.

 Id. at 89,372, 89,388.




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        107.   The Final Rule made similar marginal modifications to the NPRM’s version

 of the Supply Relationships Description as it had made to the Overlap Description—

 eliminating the requirement to provide contact information of customers or suppliers,

 reducing the relevant period from two years to one year, and requiring reporting “only in

 dollars, not also in units.” 89 Fed. Reg. at 89,319. The Final Rule also added the $10

 million threshold. Id.

        108.   Officers and Directors. The Final Rule retained the requirement to identify

 certain officers and directors, with a few modifications. Unlike the NPRM, the Final Rule

 does not mandate any disclosure of board observers. 89 Fed. Reg. at 89,294. And unlike

 the NPRM, the Rule requires only the buyer—not the seller—to identify certain officers

 and directors. Id. Still, the Final Rule requires the buyer to identify all officers or

 directors of both the buyer itself and its subsidiaries who hold a similar role at (i) the

 seller company; (ii) any of the seller’s subsidiaries; or (iii) any other entities “that are in

 the same industry as the [seller].” Id. The buyer must also identify any officers and

 directors in the same industry as the seller who also serve in similar roles at related

 “entities within” the buyer. Id. Any time the buyer identifies an officer or director who

 must be reported, the buyer must also name the other entity involved.

        109.   It appears to be up to the buyer to seek out and disclose the officers and

 directors covered by the Final Rule, regardless of whether that information is readily

 available to the buyer. 89 Fed. Reg. at 89,294; see id. at 89,297 (“[T]he acquiring person

 must determine whether” its own pertinent officers and directors “also serve as an officer




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 or director . . . of another entity that derives revenue in the same NAICS codes as the

 target.”).

               3.     Responses to Comments

        110.   The Final Rule discussed the FTC’s purported justifications for the many

 new additions to the HSR premerger notification form.              Where relevant, those

 justifications are discussed below. The Final Rule also offered several responses to the

 many negative comments the FTC had received during the rulemaking process.

        111.   First, the Rule noted that the FTC “disagrees that avoiding potential cost

 or delay to those involved in dealmaking is the primary focus of the HSR Act.” 89 Fed.

 Reg. at 89,238.    Instead, according to the FTC, Congress’s “overarching” goal was

 “promoting vigorous and effective enforcement of the antitrust laws.” Id.

        112.   Next, the Rule addressed the many comments arguing that the FTC had

 “not provided any evidence that current information requirements are insufficient, or

 identified transactions [the antitrust agencies] did not challenge due to shortcomings in

 the current premerger review process.” 89 Fed. Reg. at 89,222. Like the NPRM, the

 Final Rule does not cite even one such transaction. The agency claimed in a footnote that

 “it is not practical for [the FTC or DOJ] to identify specific illegal transactions that they

 ‘missed’ during their premerger review” using the old premerger form, because that

 “would require a redirection of resources to investigate consummated mergers and away

 from resources devoted to premerger review.” Id. at 89,219 n.14.

        113.   The Rule also explained that the FTC was “not convinced that Congress

 intended the words ‘necessary and appropriate’ to require a cost-benefit analysis in this




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 context.” 89 Fed. Reg. at 89,236. Nevertheless, the Rule stated that the FTC “considered

 the reasonableness of requiring additional information . . . including the costs and the

 benefits of the final rule.” Id. The Rule then discussed both those costs and benefits at

 greater length than it had in the NPRM.

        114.   In discussing costs and benefits, however, the Rule did not assert that the

 benefits of greatly expanding the information and documents required by the premerger

 notification form outweigh the costs, either overall or with respect to any of the specific

 individual items that the Rule adds to the form. Instead, the Rule repeatedly states that

 the FTC sought the “information that [was] necessary and appropriate” in its view, and

 then tried to “minimize where possible the costs to filers.” 89 Fed. Reg. at 89,217; see,

 e.g., id. at 89,237 (“[T]he final rule will facilitate the provision of relevant documentary

 materials and information . . . while minimizing the cost and burden of producing such

 materials as much as practicable.”); id. at 89,259 (“[T]he final rule limits the incremental

 costs for filers as much as practicable while still generating additional information.”).

        115.   The Rule identifies three kinds of benefits that the FTC believed would

 “accrue to the American public” from expanding the information required by the

 premerger form: (1) the detection of additional harmful mergers; (2) the fact that DOJ

 and the FTC will “not need to spend as much time and resources” acquiring information

 that is now mandated for all transactions; and (3) decreased “burdens and costs for the

 parties and third parties who respond to staff inquiries designed to collect” that

 information. 89 Fed. Reg. at 89,251, 89,353-89,354.




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        116.    On costs, the FTC explained that it was “persuaded by commenters” who

 had asserted that its analysis at the NPRM stage “underestimated the extent of the cost

 and delay that would be imposed if the Commission adopted the proposed rule.” 89 Fed.

 Reg. at 89,331. The Final Rule therefore revised those estimates after conducting a “new

 survey of Agency staff.” Id. at 89,332.

        117.    Based on those results, the Rule estimates that “the average number of

 additional hours required to prepare an HSR filing with the changes outlined in the Final

 Rule is 68 hours, with an average low of 10 hours for select 801.30 transaction filings by

 the acquired person and an average high of 121 hours for filings from acquiring person in

 a transaction with overlaps or supply relationships.” 89 Fed. Reg. at 89,333 (emphasis

 added). The latter category, again, covers a projected “45 percent” of all HSR filings—or

 at least 1,000 per year in a down year for M&A activity. Id. Compared to the FTC’s

 estimate of the burden of the current form of just 37 hours on average, 88 Fed. Reg. at

 42,208, an additional preparation time of 121 hours would be a more than four-fold

 increase on all those filers.

        118.    The Rule also adopted a revised blended hourly rate prediction of $583 per

 hour—far less than the $936 per hour suggested by the Kothari Report and the survey of

 antitrust practitioners prepared by the U.S. Chamber. 89 Fed. Reg. at 89,334. Among

 other reasons for the large difference, those commenters had accounted for additional

 costs of engaging “economic consultants, investment bankers, and data vendors.” Kothari

 Report ¶ 49. The FTC responded that, in its judgment, those third-party services would

 never be necessary. 89 Fed. Reg. at 89,334.




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        119.   The Final Rule is currently set to go into effect on February 10, 2025. After

 that date, all HSR-reportable transactions must use the new, far more expansive and

 expensive premerger notification form.

                           THE RULE VIOLATES THE APA

        120.   The Final Rule should be set aside under the APA for at least five reasons.

 First, the Rule contravenes the limits Congress placed on the FTC’s authority to design

 the premerger notification form in multiple, independent ways. Second, the agency did

 not and could not have rationally concluded that the benefits of obtaining all the new

 material required by the Rule come close to outweighing the significant costs, both to

 filers and to the overall economy.       Third, many of the specific new categories of

 information added by the Rule, evaluated individually, also do not pass even a rough cost-

 benefit analysis.   Fourth, the FTC failed to adequately justify the need for its

 unprecedented and massive expansion of the form and thus violated the HSR Act itself,

 basic tenets of reasoned decisionmaking, and FCC v. Fox TV Stations, Inc., 556 U.S. 502,

 515 (2009).   Finally, even if the FTC had demonstrated serious deficiencies in the

 premerger screening program, the agency did not reasonably explain why it chose to

 revolutionize the HSR form instead of adopting the obvious alternative: making better

 use of its existing information-gathering tools, including Second Requests.

        A.     The Rule Exceeds The FTC’s Statutory Authority.

               1.     The FTC Did Not Recognize Or Adhere To The Limits On Its
                      Authority To Require Information And Documents.

        121.   Although the HSR Act authorizes the FTC to specify the content of the

 premerger notification form, it places significant limits on that grant of authority. The



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 statute provides that the FTC may require “such documentary material and information

 relevant to a proposed acquisition as is necessary and appropriate to enable the

 [Agencies] to determine whether such acquisition may, if consummated, violate the

 antitrust laws.”   15 U.S.C. § 18a(d)(1) (emphasis added).        As set forth above, that

 language, especially when read in light of the two-step review process created by the HSR

 Act, places critical limits on the FTC’s authority to require particular “documentary

 material” or “information” in the premerger notification form.

        122.   Two such limits are relevant here. First, the information or documents

 must actually be “necessary” to enable the FTC or DOJ to reach a preliminary

 determination about whether to issue a Second Request. The Agencies are not entitled to

 all information that could theoretically be relevant or useful to making a final decision on

 behalf of the government. Second, requiring the information cannot impose significant

 costs on filing parties if it does comparatively little to enable that initial assessment. In

 Michigan v. EPA, the Supreme Court held that effectively the same language—the

 statute there permitted only regulation that was “appropriate and necessary”—“plainly

 subsumes consideration of cost.”      576 U.S. at 756 (emphasis added).        As the Court

 explained, that result follows from the plain meaning of the word “appropriate,” since

 “[n]o regulation is ‘appropriate’ if it does significantly more harm than good.” Id. at 752.

        123.   Likewise, the Fifth Circuit has held in multiple cases that the phrase

 “necessary and appropriate” functions as a “limit” on “the authorization contained in” a

 statutory provision, and “at a minimum requires that [a rule’s] benefits reasonably

 outweigh its costs.” Mexican Gulf, 60 F.4th at 965; see National Grain & Feed Ass’n




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 v. OSHA, 866 F.2d 717, 733 (5th Cir. 1988) (interpreting “reasonably necessary and

 appropriate” standard to require agency to point to “a benefit the costs of which are not

 unreasonable”).

        124.   That conclusion also follows from the structure of the HSR Act, which

 establishes the two-step scheme for premerger review precisely to avoid inflicting undue

 costs on all transactions, the vast majority of which do not pose any competitive concern.

        125.   Congress is also presumed to have “legislated against the backdrop of

 [pertinent] case law,” EPA v. Mink, 410 U.S. 73, 89 (1973), and to have been “aware of”

 and “adopt[ed]” a “judicial interpretation” when it “re-enacts a statute without change,”

 Lorillard v. Pons, 434 U.S. 575, 580 (1978), or “amend[s] [it] without altering the

 [relevant] text,” Forest Grove Sch. Dist. v. T.A., 557 U.S. 230, 244 n.11 (2009). Congress

 amended the HSR Act to change the filing fees and require disclosure of foreign

 subsidiaries in 2022; indeed, the Rule implements that very limited additional

 requirement, which Plaintiffs do not challenge. That amendment post-dated the Supreme

 Court’s decision in Michigan v. EPA, which interpreted substantively identical language

 to the HSR Act’s key phrase “necessary and appropriate.” Yet not only did Congress not

 touch that language—it added that phrase to a different part of the Act. Pub. L. 117-328

 Div. GG § 202, 136 Stat. 4459 (2022).

        126.   Other parts of the HSR Act confirm Congress’s paramount concern with

 avoiding unjustified costs in the premerger form. In the 2000 amendments to the Act,

 Congress required the FTC and DOJ to appoint a disinterested official to “hear any

 petition” from any recipient of a Second Request arguing that the Request “is unduly




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 burdensome.” 15 U.S.C. § 18a(e)(1)(B)(i). Congress was thus concerned with the burden

 of Second Requests on businesses—a burden felt in only 3% of transactions. It would be

 particularly anomalous then to think that Congress could have authorized the FTC to

 make the initial HSR notification far more onerous and unduly burdensome than it had

 been since the HSR Act’s enactment.

        127.   In the Final Rule, the FTC rejected the existence of these significant limits

 on its authority to require information in the premerger form. The agency “disagree[d]

 that avoiding potential cost or delay to those involved in dealmaking is the primary focus

 of the HSR Act.” 89 Fed. Reg. at 89,238. And it asserted that Congress did not “intend[]

 the words ‘necessary and appropriate’ to require a cost-benefit analysis” of any kind. 89

 Fed. Reg. at 89,236. As a consequence, the FTC has created a version of the HSR

 notification form that is fundamentally “incompatible with the . . . statutory scheme” for

 premerger review. Sierra Club, 294 F.3d at 162. Indeed, “not only does the [Rule]

 diverge from Congress’s original intent to limit the burden of the HSR Form to the

 transactions most likely to raise concerns”—it departs so dramatically, and at such a

 significant economic cost, as to “encroach upon Congress’s exclusive legislative power”

 and implicate the major-questions doctrine. See U.S. Chamber Comment at 50-51.

        128.   To be sure, in the Final Rule the FTC claimed that it “considered . . . the

 costs and the benefits of the final rule.” 89 Fed. Reg. at 89,236. But on closer inspection,

 the FTC never determined that the benefits of obtaining the new information and

 documentary material—either category-by-category or on the whole—are worth the

 significant burden inflicted on thousands of HSR filers each year. Instead, the agency




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 repeatedly said that it had adopted changes it thought warranted “while minimizing the

 cost and burden of producing [the required] materials as much as practicable.” Id. at

 89,237 (emphasis added); see, e.g., id. at 89,319 (“while minimizing the cost as much as

 practicable”); id. at 89,217 (“the Commission has substantially modified its proposals to

 minimize where possible the costs to filers and third parties, yet still provide the Agencies

 with information that is necessary and appropriate”) (emphasis added); id. at 89,259 (the

 “rule limits the incremental costs for filers as much as practicable while still generating

 additional information”); id. at 89,260 (“To the extent possible, the Commission has

 imposed as few additional requirements as is practicable in light of the benefits derived

 from more effective premerger review.”).

        129.    “Reduc[ing] the cost and delay for filers as much as practicable,” 89 Fed.

 Reg. at 89,273, is not the same thing as finding that the benefits of the information

 outweigh the costs, as required by the HSR Act. Under the former approach, the FTC

 has already decided what information it will seek, and then tries to reduce the costs of

 that requirement to some extent. Under the latter, required approach, the FTC may not

 require any piece of information in the first place unless it has found that doing so is more

 beneficial than it is costly. The distinction is subtle, but it makes all the difference to the

 agency’s authority. See Entergy Corp. v. Riverkeeper, Inc., 556 U.S. 208, 217 (2009)

 (discussing difference between a regulatory regime that “compares the costs and benefits

 of various ends and chooses the end with the best net benefits” versus one that pursues “a

 specified level of benefit at the lowest cost”).




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               2.     The FTC Lacks Authority To Require Disclosure Of Officers And
                      Directors.

        130.   In addition to misinterpreting the phrase “necessary and appropriate,” the

 FTC separately exceeded its statutory authority by requiring filers to disclose the officers

 and directors of entities related to the transaction in certain circumstances. The Final

 Rule asserts that information on certain officers and directors is necessary for the

 antitrust agencies to screen both for “a violation of section 8” and whether a “transaction

 would violate section 7,” both of the Clayton Act. 89 Fed. Reg. at 89,295. Section 8

 prohibits so-called “interlocking directorates and officers,” stating that “[n]o person shall,

 at the same time, serve as a director or officer in any two corporations” that have a

 competitive relationship. 15 U.S.C. § 19(a)(1). Section 7 is the typical provision at issue in

 merger cases, as it prohibits acquisitions “the effect of [which] may be to substantially

 lessen competition, or to tend to create a monopoly.” Id. § 18.

        131.   Contrary to the Final Rule, the HSR Act is not designed to help the

 antitrust agencies enforce Section 8. The Act permits the FTC to “require” that the

 premerger notification form “contain such . . . information relevant to a proposed

 acquisition as is necessary and appropriate to enable the [antitrust agencies] to

 determine whether such acquisition may, if consummated, violate the antitrust laws.”

 15 U.S.C. § 18a(d)(1) (emphases added).        Accordingly, the FTC may only demand

 information that concerns the legality of the proposed acquisition itself.

        132.   Whether a proposed merger or acquisition will result in competing

 companies having overlapping officers or directors is irrelevant to whether the




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 transaction itself will violate the antitrust laws. By its terms, Section 8 has nothing to do

 with transactions. See 15 U.S.C. § 19(a)(1) (“No person shall, at the same time, serve as a

 director or officer” in two competing corporations.). Although an acquisition can lead to a

 prohibited board or officer interlock, it is not the acquisition itself that “violate[s] the

 antitrust laws.” 15 U.S.C. § 18a(d)(1). The FTC and DOJ thus lack authority to use the

 HSR process to enforce Section 8 of the Clayton Act.

        133.   That makes sense. Interlocking directorates do not pose the unscrambling

 problem that motivated the creation of the premerger notification program in the first

 place. The appropriate remedy for a Section 8 violation is not to prevent an acquisition; it

 is to have the offending officer or director resign, which can be achieved just as easily

 post-transaction as pre-transaction. Indeed, Section 8 expressly provides for a grace

 period of one year to allow for resignations if an interlock develops, including as the result

 of a transaction. 15 U.S.C. § 19(b). For all these reasons, it is not surprising that the FTC

 had never required information on officers or directors until this rulemaking.

        134.   Nor is such information otherwise “necessary” to an initial screen for

 Section 7 problems with the proposed transaction. 15 U.S.C. § 18a(d)(1). The Rule

 asserts that the “the same competitive concerns that underpin [S]ection 8 are also

 relevant to whether a transaction would violate [S]ection 7.” 89 Fed. Reg. at 89,295.

 According to the FTC, overlapping directors or officers might have “opportunities or

 incentives to coordinate competitive decisionmaking.” Id. But that generalized concern is

 why Section 8 exists, and has nothing do with the transaction’s legality. The agency also

 states that it is “concern[ed] about premature coordination between merging firms,”




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 which it calls “gun jumping,” in violation of the HSR Act’s waiting period. Id. at 89,295-

 89,295 n.345. But again, whether parties that have submitted an HSR form have engaged

 in gun jumping has nothing to do with whether the “proposed acquisition” might be

 unlawful.

        135.     Finally, even if the FTC could use the premerger form to screen for

 potential violations of Section 8, the Rule still exceeds the agency’s statutory authority

 insofar as it requires disclosure of persons who “serve similar functions” to a board of

 directors or corporate officer in “unincorporated entities.” 89 Fed. Reg. at 89,297. In the

 NPRM, the FTC recognized that “Section 8 does not technically apply to unincorporated

 entities,” 88 Fed. Reg. at 42189 n.34, because its text refers only to a person “serv[ing] as

 a director or officer in any two corporations” that compete. 15 U.S.C. § 19(a)(1) (emphasis

 added).

                 3.     The FTC Lacks Authority To Require Filing Parties To Submit
                        Substantive Antitrust Analysis.

        136.     The Final Rule exceeds the FTC’s statutory authority in a third way. The

 Rule creates several new sections of the premerger notification form that require the filer

 to provide substantive legal analysis or otherwise take and defend positions on a legal

 issue. Among others, filers must:

             •   Provide a “Transaction Rationale” in which they “identify and explain each
                 strategic rationale for the transaction discussed or contemplated,” cite filed
                 documents to support each rationale, and “address” any “inconsistencies”
                 between any documents and the stated rationales, 89 Fed. Reg. at 89,300,
                 89370;

             •   Provide an “Overlap Description” in which they identify and describe all of
                 their “current and known planned products or services” that “compete (or




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               could compete) with” those of the other party, 89 Fed. Reg. at 89,345,
               89,356; and

           •   Provide a “Supply Relationships Description” concerning products,
               services, or assets that any other party “uses . . . to compete with” the filer
               or the other party to the transaction. 89 Fed. Reg. at 89,372, 89,387.

        137.   These requirements each demand that filers adopt, support with citations,

 and even preemptively defend various legal positions on questions that could end up being

 litigated before a federal court. Disputes regarding the merging parties’ reasons for

 entering a transaction are often at the center of litigation over whether the transaction

 will be procompetitive. So are disagreements over whether two products or services

 compete with one another within a properly defined geographic or product market.

 Indeed, answering those kinds of questions can and usually does require expert analysis

 in the form of both detailed reports and lengthy testimony.

        138.   Requiring these kinds of submissions has no basis in the HSR Act. For one

 thing, it is hardly “appropriate” to require filers to make and certify potentially

 contestable legal claims “under penalty of perjury.” 89 Fed. Reg. at 89,350. For another,

 the statute calls the required premerger form a “notification” of the transaction, which

 carries a strong connotation that the form will not demand a justification or legal analysis.

 In the legislative debates over the HSR Act, Congressman Rodino explained that even a

 Second Request would involve only “the very data that is already available to the merging

 parties and has already been assembled and analyzed by them,” 122 Cong. Rec. 30,877

 (1976) (statement of Rep. Rodino), rather than require the parties to provide an analysis




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 of the legal implications of the transaction. It follows a fortiori that Congress did not

 authorize the FTC to require legal analysis in the initial premerger filing.

        139.   More fundamentally, the HSR premerger regime is a notification program,

 not a pre-approval program like those administered by some foreign jurisdictions. The

 filers do not need to persuade the agencies to bless their proposed merger or acquisition.

 Nor was the HSR Act intended to “ease in any way the traditional burden of proof that

 must be borne by the government” if it chooses to challenge the merger based on its

 investigation. H.R. Rep. No. 94-1373, at 8. As one commenter put it, “requiring certified

 statements by filing parties at the outset of an investigation that go to the core of what the

 agencies must prove if they sought to challenge a transaction goes far beyond the

 statutory scope of the HSR Act.” Wachtell Comment at 15.

        140.   In addition, the HSR Act’s 30-day waiting period starts only when the DOJ

 and FTC receive a “completed notification,” 15 U.S.C. § 18a(b)(1)(A)(i), giving the

 agencies the power to effectively restart the clock by bouncing a filing they deem

 incomplete. It does not make sense to require filers to submit subjective, disputable legal

 argument as part of the “information” required by the form, because the agencies’

 determination of completeness will then become equally subjective and indeterminate. It

 cannot be that the clock starts only if the agency agrees with the legal positions the filer

 has taken, or concludes that the filer’s claims are adequately supported by the submitted

 documents.




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        B.     The Rule’s Overall Benefits Do Not Reasonably Outweigh Its Costs.

        141.   As set forth above, Congress’s use of the phrase “necessary and

 appropriate” limits the FTC to requiring in the premerger notification form only

 information and documentary material that does not unduly burden the filing parties by

 imposing a higher cost to compile and produce than it returns in benefit to the public. See

 Mexican Gulf, 60 F.4th at 965 (such language “at a minimum requires that [a rule’s]

 benefits reasonably outweigh its costs”).

        142.   Even if the FTC had recognized that statutory limit on its authority and

 performed the required analysis, it could not have rationally concluded that the benefits of

 obtaining all the new information and material required by the Rule is worth the costs

 imposed. The FTC has not shown that the Rule will produce anything more than trivial

 benefits, if that, whereas both the direct and indirect costs are extraordinary. The Rule’s

 contrary assessments of each half of the cost-benefit equation do not withstand

 meaningful scrutiny.

               1.       The FTC Discounted Significant Costs.

        143.   Start with the direct compliance costs. Even under the FTC’s estimate, it

 will take the acquirer on average 158 hours to complete the new form, compared to 37

 hours currently, in nearly half of all reportable transactions (“overlap” transactions). 89

 Fed. Reg. at 89,332.       That is a greater than four-fold increase for thousands of

 transactions every year. The FTC estimates that the new average time for all filers will

 increase by 68 hours to 105 hours total, roughly tripling the agency’s estimate of the




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 current burden. Id. at 89,332-89,333. That overall average includes the select 801.30

 filings that will take only 10 additional hours on average. Id. at 89,332.

        144.   As the FTC itself recognizes, those additional burdens and costs are

 substantial on their own terms. Using Professor Kothari’s estimate of $936 per hour

 rather than the FTC’s $583, times a rough annual average of 2,000 HSR-reportable

 transactions a year (resulting in roughly 4,000 filings), the total direct compliance costs of

 the Rule alone for American businesses will be $250 million annually, even assuming the

 agency has properly estimated the additional compliance times. Meeting in the middle at

 $759 per hour, the Rule would still cost $200 million every year. The vast majority of that

 expenditure will be a complete waste, as everyone agrees that most HSR-reportable

 transactions pose no competitive problems.

        145.   In addition, there is every reason to suspect that the Final Rule significantly

 underestimates the additional time burden of preparing the new premerger form. As

 noted, the Rule admits that the FTC’s original estimate of burden in the NPRM was

 flawed and thus “underestimated the time and expense associated with the proposed

 rule.” 89 Fed. Reg. at 89,331. The Rule claims that the FTC’s “new survey of Agency

 staff” made “improvements to its methodology” and led to results “generally consistent

 with” the U.S. Chamber survey of antitrust practitioners “relied on in the Kothari

 Report.” 89 Fed. Reg. at 89,332-89,333. But the Chamber survey had found that the

 NPRM’s changes to the premerger form would have added 241 hours for the average

 transaction, whereas the Final Rule projects an average increase of just 68 hours.




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        146.   The differences between the amount of information sought by the NPRM

 and the Final Rule cannot account for much of that gap. It is facially implausible that the

 Final Rule imposes only 28% (68/241) of the additional burden that the NPRM would have

 imposed. The Final Rule scales back on the NPRM, but not to that extent. Appearing to

 recognize as much, the Rule tries to explain some of the delta by claiming that the U.S.

 Chamber survey “may have included costs related to advocacy about whether a

 transaction violates an antitrust law, rather than only costs related to collection and

 submission of information required by the [HSR] Form” itself. 89 Fed. Reg. at 89,333.

 But that speculation has no basis. The survey questions that the U.S. Chamber asked are

 public, and those questions asked respondents to estimate the time “spen[t] preparing a

 submission for a transaction as part of an initial filing,” not the time spent advocating

 against a Second Request or anything else. U.S. Chamber Practitioner Survey at 3.

        147.   In any event, the Rule will have serious indirect impacts as well.

 Commenters from every corner of American industry explained as much.                 Most

 importantly, the additional work needed to compile, analyze, and prepare the additional

 information required by the Rule will “add significantly . . . to a company’s filing

 preparation time, which would have the effect of extending closing dates.” Business

 Roundtable Comment at 5. The U.S. Chamber survey of antitrust practitioners found

 that the NPRM, if adopted in full, would have tripled the average time to prepare a filing

 from 10.7 days to 32.7 days.     U.S. Chamber Practitioner Survey at 3; see TechNet

 Comment at 3 (Sept. 27, 2023). Although the Final Rule requires fewer documents and

 less information than the NPRM, it stands to reason that the average filing time under




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 the Final Rule will still at least double if not increase even more, especially for overlap

 transactions.

        148.     “These delays represent a significant cost increase” of their own. National

 Association of Manufacturers (NAM) Comment at 4 (Sept. 27, 2023). As the ICPAC

 Report put it (at 93), “Mergers are almost always time sensitive; delays may prove fatal to

 a transaction.” Extensions to the closing date can “threaten the underlying economics of

 the deal itself,” NAM Comment at 4, especially for “deals with financing contingencies

 that need to be satisfied in a limited time period,” ICLA Comment at 10. For early-stage

 growth companies, “delays of even a day or two can cause significant issues, and delays of

 several weeks can result in a business failing” as it fails to make payroll. National

 Venture Capital Association (NVCA) Comment at 5 (Sept. 27, 2023). Extending deal

 timelines increases the risk of the deal “becoming public against the parties’ wishes,”

 which can cause significant harm to the parties’ businesses.           Business Roundtable

 Comment at 14. And it can generally increase ex ante uncertainty about the deal, which

 has its own deterrent effect. Kothari Report ¶ 55; Business Roundtable Comment at 14.

        149.     What is worse, even though “large established businesses can potentially

 bear . . . an increased financial and administrative burden, this will have an outsized effect

 on smaller businesses with more limited resources.” NVCA Comment at 8. And small

 businesses need access to private capital far more than large businesses, which typically

 have access to the public securities and debt markets. Dechert LLP Comment at 14

 (Sept. 25, 2023). Congress recently recognized these points when it amended the HSR

 Act to lower the fees for transactions involving small businesses. See Pub. L. 117-328 Div.




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 GG § 101, 136 Stat. 4459 (2022). Yet even using the FTC’s lowball estimate of direct

 compliance costs, the Rule will more than double the effective fee for filers proposing

 transactions in the lowest tier.

        150.   The Rule also creates a different potential source of delay to transactions:

 the delay that will occur if the FTC or DOJ rejects an HSR filing as incomplete and

 thereby restarts the 30-day clock. As noted above, that is a significant risk created by the

 Rule’s new demand for narratives and substantive legal positions, which “may generate

 disagreements between agency personnel and the merging parties regarding the accuracy

 or completeness of the information provided.”          ICLA Comment at 10.          “Such a

 determination would prevent the 30-day review clock from starting, leading to an

 indeterminate period of back-and-forth between the filers and the Agencies before the

 filings are deemed to be satisfactorily complete.” NAM Comment at 5. If the initial

 lengthening of the deal timeline attributable to the expansion of the premerger form did

 not scuttle an otherwise valuable transaction, this sort of additional delay very well might.

 Yet the Rule says nothing in response to the comments flagging this injection of

 subjectivity into the process as an additional cost worth considering.

        151.   In the Final Rule, the FTC “disagree[d] that any delays and incremental

 costs associated with an HSR Filing could have a significant impact on overall M&A

 activity” while barely engaging with any of the above submissions from commenters.

 89 Fed. Reg. at 89,257. The agency responded that “deal volumes fluctuate . . . from year

 to year” and that “these fluctuations are attributable to many economic factors.” Id. at

 89,258. That is irrelevant. The question is the impact of the Rule holding everything else




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 equal, including the other “economic factors” that affect the number of deals. It is self-

 evident that tripling or quadrupling the compliance costs and significantly lengthening the

 timelines associated with completing a deal will adversely affect deal activity.

          152.   In addition, the Final Rule expresses some doubt that most “M&A activity

 is beneficial to the economy.” 89 Fed. Reg. at 89,258 (arguing that the Kothari Report

 lacked persuasive “empirical evidence about the benefits of M&A”).           But it is basic

 economics that voluntary transactions, including between companies, contribute to

 economic growth because they allow market actors to “put assets to their highest and best

 use.” Business Roundtable Comment at 18. More importantly, that is a core assumption

 of the HSR Act, which Congress designed to avoid even “deter[ring] . . . the vast majority

 of mergers and acquisitions.” S. Rep. No. 94-803, at 66 (emphasis added). Of course,

 some mergers and acquisitions have the potential to harm competition, but when they do

 not, they usually improve competition by “generat[ing] significant efficiencies and thus

 enhanc[ing] the merged firm’s ability and incentive to compete, which may result in lower

 prices, improved quality, enhanced service, or new products.” St. Alphonsus Med. Ctr.–

 Nampa v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 789 (9th Cir. 2015). Even the

 “possibility of being acquired” also provides an “important incentive for innovative startup

 companies and the firms that financially support them.” Business Roundtable Comment

 at 18.

                 2.    The FTC Significantly Overstated Benefits.

          153.   Against all these costs of the Final Rule, the FTC does not show that there

 are remotely commensurate benefits that would “accrue to the American public” from




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 expanding the information and documentary material required by the premerger

 notification form. 89 Fed. Reg. at 89,251. The agency identified three categories of

 benefits: (1) the detection and prevention of additional unlawful mergers; (2) the fact that

 DOJ and the FTC will “not need to spend as much time and resources” acquiring

 information that is now mandated for all transactions, id. at 89,254; and (3) decreased

 “burdens and costs for the parties and third parties who respond to staff inquiries

 designed to collect” that information, id. at 89,253. None of these purported benefits

 amounts to much of anything, and even if they did, they would not remotely match the

 extensive costs that the Rule will place almost entirely on completely harmless

 transactions and the larger economy.

        154.   Detecting And Preventing More Unlawful Mergers. The Rule first invokes

 both the “annual estimated consumer savings” and “less quantifiable harms that are

 avoided” by blocking anticompetitive transactions through its overall merger-enforcement

 program. 89 Fed. Reg. at 89,252. By providing the antitrust agencies the “enhanced

 ability” to detect even more “illegal mergers,” the Rule will purportedly “result in similar

 benefits to additional consumers and other market participants.” Id.

        155.   While preventing unlawful mergers may benefit the public, the Rule’s

 assessment of that benefit as a result of the Rule is massively overstated. Indeed, the

 benefit from the Rule approaches zero. As discussed in more detail below, the FTC

 simply has no evidence that HSR-reportable transactions have gone unblocked because

 the FTC and DOJ lacked the information or material the new Rule would require. That

 lack of evidence is particularly noteworthy since the consensus before this rulemaking,




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 backed by extensive data, was that the current premerger notification form was in fact

 highly effective at facilitating the detection and prevention of unlawful transactions. Even

 the FTC itself has stated repeatedly in recent years that in “the majority of cases, [it] can

 make a reasonable judgment within a few days about whether a merger is potentially

 anticompetitive based on information provided in the [prior version of the] HSR filing.”

 FTC, Congressional Budget Justification Fiscal Year 2024 at 55 (emphasis added).

        156.   As the Final Rule recognizes, even under the existing regime, both DOJ and

 the FTC are already “forced to make difficult triage decisions and forgo potentially

 worthy investigations” because their “headcount[s] remain[] well below what is needed in

 light of the volume and complexity of proposed deals.” 89 Fed. Reg. at 89,247; see AIC

 Comment at 30, Kothari Report ¶ 54. In other words, the agencies are already pursuing

 the maximum amount of Second Requests and enforcement actions that they can given

 their resources. Nor has Congress seen fit to remedy this supposed resource shortfall.

 When the FTC requested a $160 million increase in appropriations for Fiscal Year 2024

 (from $430 to $590 million)—including $70 million to add staff to help with HSR review,

 among other things—Congress responded by decreasing the annual appropriation to

 $425.7 million.   See FTC, Congressional Budget Justification Fiscal Year 2024 at 9;

 Further Consolidated Appropriations Act 2024, Pub. L. No. 118-47, 138 Stat. 552.

        157.   As a result, all the additional materials required by the Rule are unlikely “to

 ever be reviewed” in the first place. Kothari Report ¶ 28. Moreover, even if they are, and

 even if the new information helps flag some additional potentially problematic

 transactions, the agencies will be forced to let other transactions go through to free up




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 resources to pursue the new ones. There will therefore be little if any net enforcement

 benefit attributable to the Rule. Instead, there will just be an exchange of some blocked

 transactions for other blocked transactions. And it is unlikely that these new transactions

 will be worth stopping in exchange for the old ones. The old ones were likely more clearly

 anticompetitive, since the agencies were able to catch them using the old HSR form.

           158.   Saving Agency Time. The FTC next claims that the Rule will make “the

 work of Agency staff . . . more efficient and effective as they will be able to more readily

 and accurately identify those transactions that pose a risk that they may violate the

 antitrust laws.”     89 Fed. Reg. at 89,253-89,254.     That is because the “additional

 information required by the final rule would result in an overall reduction in the number

 of staff hours spent collecting additional information from all sources” in addition to “a

 reduction in associated burdens of reviewing and processing that information.” Id. at

 89,253.

           159.   This argument is both irrational and contrary to the basic two-step

 structure of the HSR Act. As the NPRM points out, beyond basic searching of publicly

 available sources, most of the “staff hours spent collecting additional information from all

 sources” occurs only after “one Agency has granted clearance to the other to conduct an

 initial investigation of the transaction.” 88 Fed. Reg. at 42,196. In-house attorneys’

 “experience . . . confirms” this. ICLA Comment at 23. But such clearance occurs at most

 for roughly 15% of all HSR-reportable transactions; in 2021 it was 8%. Billman & Salop,

 supra, at 10; FTC, HSR Report, Annual Report to Congress for Fiscal Year 2021 Ex. A,

 T1. The Rule thus demands information from all filers to save the agencies the burden of




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 asking for that information from a small minority. And it demands that information up

 front in lieu of waiting to do so until the staff have reviewed the specifics. That is not a

 rational trade. Nor does it make sense to count as a benefit the “reduction in associated

 burdens of reviewing and processing that information,” 89 Fed. Reg. at 89,253, since the

 staff will have to review and process the information either way.

        160.    More broadly, the FTC cannot justify demanding information from the

 parties to thousands of obviously harmless transactions by arguing that it will free up the

 agency’s time to investigate other transactions. That reasoning ignores the constraints of

 the statute, which limits the agency to requiring what is “necessary and appropriate to

 enable” a determination of whether the “proposed acquisition” is unlawful. 15 U.S.C.

 § 18a(d)(1) (emphasis added). By the FTC’s logic, it would be “appropriate” to demand

 that all filers submit all possible information that might be relevant, because that would

 enhance the agencies’ enforcement capabilities. Congress made the considered decision

 not to require everything up front in the HSR Act because of the burdens that would

 place on filers generally—burdens that the FTC has now imposed in contradiction to that

 legislative choice.

        161.    Saving Third Parties’ Time.       Lastly, the Final Rule claims a similar

 efficiency benefit on behalf of third parties who may be affected by a proposed

 transaction—customers, competitors, and the like.       The Rule explains that after the

 agencies open an investigation, the staff sometimes “contact[] at least one third party” to

 learn more about the transaction’s potential effects. 89 Fed. Reg. at 89,253. The FTC

 argues that it is “appropriate to shift some of th[e] information-gathering burden to the




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 merging parties and away from other market participants . . . who currently absorb this

 burden.” Id.

        162.    As above, the trade underlying this supposed benefit is nonsensical. The

 Final Rule greatly increases the burden on the parties to thousands of harmless

 transactions in order to save a few other parties the time of responding to inquiries

 concerning transactions that have already raised a red flag in an initial agency review.

 Worse still, these requests to third parties are typically voluntary. If the third party does

 not want to respond, it need not do so. And if it does take the time to engage, that is

 probably because it sees the engagement as a positive—as a chance to make the case to

 the agency that the transaction will be anticompetitive and should be blocked. It is

 therefore irrational to treat that engagement as a burden or cost to those third parties.

        163.    The Rule also never explains why “shift[ing]” any of the “information-

 gathering burden” from third parties onto the filing parties is “appropriate” within the

 meaning of the HSR Act. It is not. As set forth above, Congress designed the two-step

 premerger review program and put in place other protections for filers so that the scheme

 would “neither deter nor impede consummation of the vast majority of mergers and

 acquisitions.” S. Rep. No. 94-803, at 66. Burdening the parties to the transaction is what

 deters or impedes consummation. Burdening third parties does not.

        C.      Evaluated Individually, Many Of The Rule’s New Requirements Do Not
                Pass Any Reasonable Cost-Benefit Analysis.

        164.    Even if the benefits of the Rule outweigh its costs as a whole, a number of

 the specific new categories of information or documents the Rule adds to the premerger




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 notification form will impose far more in compliance costs than they will return in

 enforcement benefit for the FTC and DOJ.

        165.     Drafts Of Transaction-Related Documents. The Final Rule “clarifies that

 any” transaction-related document that “was shared with any member of the board of

 directors (or similar body)” of the filer “should not be considered a draft,” “even if in draft

 form,” and therefore “should be submitted with the HSR Filing.” 89 Fed. Reg. at 89,303.

 That requirement would be enormously burdensome even if it just applied to the

 members of a traditional corporate board. In practice, however, it will sweep even more

 broadly. It is not uncommon for a CEO to sit on the board of the company, or for a hedge

 fund or private equity firm to have their own personnel do the same. Under the Rule, all

 transaction-related documents sent to such individuals would need to be submitted,

 regardless of their relevance or finality. The Rule also appears to treat an investment

 committee at a private equity firm or hedge fund as a “similar body” to a board of

 directors, consistent with prior FTC guidance. See American Bar Association Comment

 at 15 (Sept. 13, 2023). That means that all transaction-related documents sent to any

 investment committee member—which can include many of a firm’s partners—must also

 be submitted.

        166.     The drafts requirement will thus create enormous practical difficulties and

 costs for many filing parties, which the FTC recognized may “have to use e-discovery or

 forensic collection tools to capture all drafts,” 89 Fed. Reg. at 89,302, and which will likely

 then have to spin up a litigation-style review process to screen for privilege,

 responsiveness, and so on.      Congress never contemplated anything like that kind of




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 process for all HSR-reportable transactions. In addition, the drafts requirement may

 change disclosure practices within companies and funds, leading to less-informed boards

 and investment committees and thus “lower-quality decision-making on matters of

 significant business consequence.” See Foley Lardner Comment at 12.

        167.   Nevertheless, the Final Rule appears to conclude that these costs are worth

 the benefit to the agencies in avoiding any possibility that they “are receiving documents

 edited to remove candid assessments.” 89 Fed. Reg. at 89,303. But requiring intensive

 document collection and review for thousands of reportable transactions imposes costs

 that are grossly disproportionate to that hypothetical benefit. It is entirely unrealistic to

 expect that DOJ and the FTC will be combing through every draft version of every

 transaction-related document in an effort to find the “candid” needle in the haystack.

 That sort of intensive scrutiny of a proposed transaction is only practically possible at the

 Second Request stage, as has been the case for decades.

        168.   Ordinary-Course Documents (Periodic Plans And Reports). Under the

 Rule, all filers must now gather, analyze, and submit “all regularly prepared plans and

 reports that were provided” to the CEO or Board of Directors of the filer (or the CEO or

 Board of any entity the filer controls or is controlled by), if those documents “analyze

 market shares, competition, competitors, or markets pertaining to any product or service”

 that the other party “also produced, sold,” or is “known to be” developing. 89 Fed. Reg. at

 89,371, 89,386 (emphasis added).      Given the wide variety of potentially responsive

 documents, commenters pointed out that this requirement too will require the use of “e-

 discovery and other forensic discovery tools.” Id. at 89,304.




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        169.   The FTC justifies this requirement on the ground that it will “reveal

 additional information about how each filer views the competitive landscape more

 broadly.” 89 Fed. Reg. at 89,233. The Rule explains that such documents are “highly

 relevant to staff’s analysis of the nature and scope of product or service markets,

 geographic markets, competitors and competitive dynamics in the industry, [and] new or

 potential entrants that could mitigate competition concerns, among other key

 considerations.” Id. at 89,304. That does not answer the question of whether they are

 necessary or worth the significant additional compliance costs. After all, in nearly all

 cases they are likely to be cumulative. The HSR form has always required certain SEC

 filings (e.g., Form 10-Ks) and numerous documents used by the key decisionmakers for

 analyzing the transaction.     Requiring the ordinary-course documents on which the

 already-covered documents are based will almost never add anything meaningful, and

 certainly not with the frequency that would justify the increased burden on all filers.

        170.   Supply-Relationships Description. The Final Rule requires significant and

 detailed information about products or services that either party buys or sells that could

 conceivably give rise to concerns that the acquisition will allow either party to corner the

 market on a given input or set of customers, often referred to as “vertical foreclosure.”

 This information is plainly not necessary for the agencies’ initial antitrust screen, and

 even if it were, it would be far more costly for the filing parties to compile than helpful to

 have in the premerger notification form.

        171.   As the Rule acknowledges, the form used to ask for certain information

 about any “vendor-vendee relationship between reporting parties” with this very concern




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 in mind. 66 Fed. Reg. at 8,686. But the FTC removed that requirement after concluding

 that it had “not needed to rely on” that information “to learn about transactions that

 present vertical concerns.” Id.

       172.   The current FTC responds that it has designed a more “specifically

 targeted” form of the requirement that is “more relevant to the Agencies’ screening.”

 89 Fed. Reg. at 89,229. As an initial matter, that “targeted” requirement seeks more

 information than the previous vendor-vendee disclosure requirement did. In any event,

 the Rule never explains why the FTC now believes that such information is “necessary”

 when it previously concluded the precise opposite—that it had “not needed to rely” on it in

 looking for potential vertical concerns. Nor does the FTC contradict its 2001 conclusion

 that providing supply information places a particular burden on “large diversified persons

 that may purchase from other filing persons a wide variety of manufactured products

 through numerous subsidiaries and divisions.” 66 Fed. Reg. at 8,686.

       173.   While it is easy to see how, in theory, the merger of two companies that

 operate in the same market—that is, horizontally—can negatively affect competition, it is

 very uncommon for a transaction involving parties that do not operate on the same level

 to have that effect. Thus, “[v]iable non-horizontal theories of harm” such as vertical

 foreclosure “are notably rare under Section 7” of the Clayton Act. Wachtell Comment at

 16. Among other reasons, proving vertical foreclosure requires that at least one party has

 “substantial market power” in at least “one product or distribution level” implicated by

 the transaction. See, e.g., Auburn News Co. v. Providence Journal Co., 659 F.2d 273, 278

 (1st Cir. 1981). Few transactions involve the creation or perpetuation of such market




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 power. And for those that do, the agency is surely already looking at them closely.

 Moreover, even if the agency somehow misses the vertical relationships at play, “[v]ertical

 mergers that have a significant potential for being anticompetitive . . . will necessarily

 stimulate complaints by competitors and customers at one or both levels.” David T.

 Scheffman & Richard S. Higgins, Vertical Mergers: Theory and Policy, 12 Geo. Mason L.

 Rev. 967, 973 (2004).

        174.   Potential Competition. The Final Rule attempts to defend a number of

 additional information and document demands on the grounds that it needs to “identify[]

 potential law violations involving innovation effects, future market entry, or nascent

 competitive threats.”   89 Fed. Reg. 89,230.     That justification underlies the Rule’s

 expansion of information on prior acquisitions; demand for ordinary-course business

 documents; demand for information about products currently in development; the new

 “Transaction Rationale”; and more. Id. at 89,230-89,231.

        175.   Like vertical foreclosure, this “nascent competition” theory of antitrust

 harm comes up rarely, at best, and often requires one of the parties to have substantial

 market power, if not outright monopoly power. The Final Rule recognizes that, noting

 that the FTC is concerned with “markets where concentration is already great or

 trending in that direction.” 89 Fed. Reg. at 89,230. And with respect to concerns about

 serial acquisitions (or “roll ups”) in particular, the Final Rule admits that they often

 involve “transactions that were not reportable under the HSR Act” because of their small

 size. Id. at 89,233. In short, the antitrust enforcement benefits conferred by demanding

 all of this new information are slight compared to the significant costs. The requirements




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 to disclose and analyze pipeline products and provide long lists of prior acquisitions will be

 especially burdensome on certain kinds of filers, including those in the private equity,

 technology, pharmaceutical, and biotechnology sectors, as the Rule itself acknowledges.

 89 Fed. Reg. at 89,267 (citing comments); see, e.g., Biotechnology Innovation Organization

 (BIO) Comment at 4, 8 (Sept. 27, 2023).

         176.   Global Overlaps.      In responding to comments, the FTC expressly

 “decline[d] to limit” the Overlap Description, which entails compiling information on top

 customer lists and sales numbers, to “U.S. sales information.” 89 Fed. Reg. at 89,316. In

 other words, the requirement applies on a global basis. Requiring filers to submit global

 information is not justified by the costs and burdens placed on filers to compile this

 information. Even in the rare circumstance that the relevant geographic market for

 antitrust purposes is larger than the United States, this new requirement will lead to the

 production of significant amounts of irrelevant information.

         177.   Officers And Directors.     As set forth above, the FTC does not have

 authority to require filers to identify officers and directors because that information has

 no legal relevance to whether the proposed transaction itself may violate the antitrust

 laws.   But even if the agency has such authority, “receiving lists of dozens, if not

 hundreds,” of officers and directors, “especially across larger or more diffuse

 organizations with many subsidiaries . . . to screen for the possibility of current

 interlocking directorate violations under Clayton Act § 8 could impose substantial burdens

 and provide little practical utility.” American Bar Association Comment at 8. The Final

 Rule recognizes that complying with the Rule will “impose a higher cost to large




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 companies with many competitively relevant business lines.” 89 Fed. Reg. at 89,297. The

 same is true for private equity firms, which will likely need to review the potential

 conflicts across a vast number—perhaps thousands—of portfolio companies.

        D.      The FTC Failed To Adequately Justify Its Departure From The 1978-
                2024 Status Quo.

        178.    As discussed above, even by the FTC’s own estimates, the Final Rule nearly

 triples the average HSR compliance burden and more than quadruples it for half of all

 transactions. Although the Final Rule omits the language from the NPRM in which it

 called this rulemaking a “comprehensive redesign” and “large-scale reorganization” of the

 HSR premerger notification form, the Rule still recognizes that it “reset[s] the baseline

 requirements for all filers.” 89 Fed. Reg. at 89,260. If such major, baseline revisions to

 the HSR form are truly “necessary,” as required by the HSR Act, surely there must be

 major problems with the current HSR regime. Yet the Final Rule cites zero actual

 evidence to support that claim.

        179.    The Rule is therefore arbitrary and capricious in at least three different

 ways. First, to the extent the FTC even concluded that the information and documents it

 newly requires are “necessary” for an effective initial antitrust screen, 15 U.S.C.

 § 18a(d)(1), that decision “runs counter to the evidence” and is not “the product of

 reasoned decisionmaking.” Motor Vehicle Mfrs. Assn. of U.S. v. State Farm Mut. Auto.

 Ins. Co., 463 U.S. 29, 43, 52 (1983).

        180.    Second, even if the HSR Act did not require the information and documents

 mandated in the premerger form to be “necessary,” the “costs and benefits associated




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 with the [Rule]” would still be an “important aspect of the problem” under State Farm.

 See Chamber of Commerce, 85 F.4th at 777. And while the Rule’s “purported benefits

 may be more than purely hypothetical,” they are not “adequately substantiated” because

 the FTC has failed to show that the Rule addresses “a genuine problem.” Id.

        181.   Third, the Rule departs from the FTC’s “longstanding polic[y]” without

 “show[ing] that there are good reasons for the new policy.” Encino Motorcars, 579 U.S.

 at 222-223; see Fox, 556 U.S. at 515. For nearly fifty years, the FTC has required roughly

 the same amount of information and documents, but now has demanded a far greater

 amount of material that will at least triple the time it takes to collect and submit on

 average. That is a massive change in policy for which the Rule fails to give good reasons.

               1.     The FTC Lacks Hard Evidence Of A Significant Problem.

        182.   Most striking, despite being challenged to do so by many commenters, the

 Final Rule never identifies a single transaction that the FTC now thinks it might have

 stopped, or at least investigated further, with the new information the Rule adds to the

 premerger notification form. The Rule acknowledges that failure, but responds that it is

 not “practical” for the FTC to identify such transactions, because it would “require a

 redirection of resources to investigate consummated mergers and away from resources

 devoted to premerger review.” 89 Fed. Reg. at 89,219. To the contrary, it should require

 no “redirection of resources” at all. If there are indeed real problems with the HSR form

 such that the major surgery of the Rule is “necessary,” the FTC should not have to

 conduct any new investigation to uncover examples of those problems.




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        183.   Grasping for anything it can call hard evidence, the Rule cites only one

 study that the FTC claims revealed the “consequences of inadequate detection”: a study

 of the effects of hospital mergers. 89 Fed. Reg. at 89,221; see id. at 89,244. But as the

 U.S. Chamber explained in its comment, that study concludes that “agencies were

 successful (on average) in identifying in the preliminary phase of the investigation which

 mergers were most likely to be anticompetitive—and issued Second Requests in those

 cases.” Brand et al., In the Shadow of Antitrust Enforcement: Price Effects of Hospital

 Mergers from 2009–2016 at 31 (Feb. 24, 2023).

        184.   Even if this one hospital study supported the FTC, it would not rationally

 justify the Final Rule. For one thing, the Rule concedes that “the study was not designed

 to test the impact of this rulemaking.” 89 Fed. Reg. at 89,221. The study essentially

 concluded that the antitrust agencies may not have been properly assessing the

 competitive effects of hospital mergers—an entirely different point than whether the

 agencies had sufficient information to make the assessment from the HSR notification

 form. See Brand et al., supra, at 35 (“[T]he empirical tools that the FTC has applied

 recently are not capturing all of the important factors driving the price effects of hospital

 mergers.”). In addition, any shortcoming of the premerger form in the specific context of

 hospital mergers does not necessarily mean that the form is inadequate in any other

 context.   As the FTC knows, it has the power to tailor the HSR form to different

 industries if it is warranted. See Pharmaceutical Rsch. & Mfrs. of Am. v. FTC, 790 F.3d

 198, 206 (D.C. Cir. 2015) (rejecting argument that the HSR Act “compel[s] the FTC to

 issue only rules of general applicability across industries”).




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        185.   As a final piece of “evidence,” the Final Rule quotes dozens of “supportive

 comments” it had received during the rulemaking describing the commenters’ “own

 experiences in the aftermath of mergers.” 89 Fed. Reg. at 89,221-89,222. But of the few

 comments that even mention particular transactions, none offers any specifics regarding

 the role the premerger review process played—including whether the transaction was

 even HSR-reportable. And of course, anecdotes are no substitute for actual data.

        186.   The FTC’s inability to come up with any hard evidence for the need to

 greatly increase the burden of the premerger process is particularly noteworthy in light

 of the prior consensus and objective proof that the previous form worked quite well while

 staying about the same over nearly five decades. The Final Rule declines to acknowledge

 the many statements over the course of those years, including from the FTC and DOJ and

 from a bipartisan expert commission, that the form has been “highly effective” and the

 overall premerger program a “success.” Instead, the FTC opted to stealthily delete the

 latter claim from its online guide to the premerger process just two months before

 finalizing the Rule.

        187.   On the data, the Final Rule recognizes the “relatively low number of

 challenges to consummated mergers.” 89 Fed. Reg. at 89,239. It responds that the

 number “does not indicate that the current information requirements for premerger

 screening are sufficient to detect illegal deals,” given both “the limited resources the

 [FTC and DOJ] have to devote to merger enforcement” and the “frequent lack of

 information about the effects of consummated mergers.” Id. But if the agency usually

 “lack[s] . . . information about the effects of consummated mergers,” it is hard to see how




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 it has any basis to claim that the form is not working as designed. And as discussed

 above, the fact that the antitrust agencies already faced serious resource constraints prior

 to the Rule and continue to face those restraints is a major reason why the Rule is

 unlikely to lead to any net improvement in merger enforcement.

        188.   The Rule similarly asserts that “the low percentage of transactions that

 have received Second Requests is not a reliable indicator that the [FTC and DOJ] have

 achieved the goals of mandatory premerger review or that the current process is efficient

 in identifying problematic transactions.” 89 Fed. Reg. at 89,242-89,243. But the Rule

 does not explain why that figure is “not instructive.” Id. at 89,243. As noted above, nearly

 70% of Second Requests from 2001 to 2020 resulted in the proposed transaction either not

 going through or being significantly restructured to prevent antitrust concerns. Billman

 & Salop, supra, at 6.    These figures suggest that the agencies can use the current

 notification form to home in on the most concerning transactions, especially when

 combined with the vanishingly low number of post-merger challenges to transactions that

 did not receive a Second Request over the same period.

               2.     The FTC’s Bare Reliance On Unspecified “Experience” Is
                      Insufficient And Unreasonable.

        189.   Lacking a good answer to the evidence showing that the prior premerger

 form is effective, the Rule invokes the FTC’s “experience collecting and reviewing data

 and documents during antitrust investigations.” 89 Fed. Reg. at 89,217. Based on that

 experience, the agency argues that “changing market dynamics” have created or exposed

 “information gaps and asymmetries that have grown over time,” id. at 89,220, to which the




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 FTC must respond by seeking more information from filers. The agency points to five

 different kinds of changes that have purportedly made “the economy of 2024” “different

 than it was in 1978 or 2000, 89 Fed. Reg. at 89,216:

           •   “Changes in the investment landscape” as “the role of private investors,
               including private equity, has become more pronounced,” and “complex
               investment structures” or “ownership structures” have become more
               common, 89 Fed. Reg. at 89,223-89,226.

           •   The antitrust agencies’ “increasing[]” recognition of “the importance of
               evaluating the effects of mergers and acquisitions on labor markets,”
               89 Fed. Reg. at 89,226;

           •   The possibility that “an acquisition may violate the law if it creates
               opportunities for post-merger foreclosure of rivals arising from vertical or
               non-horizontal relationships,” 89 Fed. Reg. at 89,228;

           •   Growth in specific sectors in which “acquisition strategies” are important to
               “success as well as market growth,” “such as pharmaceutical, medical
               device, and digital markets,” and the resulting possibility that acquisitions
               can “eliminate areas of emerging or potential competition,” 89 Fed. Reg. at
               89,230-89,231; and

           •   “The rise of serial acquirers”: “firms that engage in strategic acquisitions in
               the same industry.” 89 Fed. Reg. at 89,234.

        190.   The FTC claims that it is responding to changes as a justification for

 departing from the longstanding and effective status quo.              But nearly all the

 developments it focuses on are either not recent or not even changes at all. For example,

 in discussing changes in the investment landscape, the Rule includes a chart showing that

 “acquisitions involving funds and limited partnerships” comprised roughly 25% of all HSR

 filings beginning in 2004, with that percentage holding at between 30% and 38% for each

 of the past 15 years. 89 Fed. Reg. at 89,224. The increased role of more complex vehicles

 in many transactions is not a new phenomenon.




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        191.   Indeed, the Rule does not actually claim that the FTC and DOJ’s new focus

 on labor markets, vertical foreclosure, and “potential competition” are “changing

 commercial realities,” 89 Fed. Reg. at 89,221 (emphasis added), or changes to the “nature

 of competition,” id. at 89,217. With good reason. These are (controversial) legal theories

 that have been around for decades and have come in and out of favor with the antitrust

 agencies since the late 1970s.

        192.   Moreover, as discussed above, not even the FTC asserts that mergers and

 acquisitions presenting labor-market, vertical, or serial-acquisition concerns will be

 anything other than a small slice of potentially anticompetitive transactions. And many of

 the new information and document requirements adopted by the Final Rule have no

 meaningful connection to such concerns.

        E.     The FTC Did Not Rationally Explain Why It Cannot Sufficiently Plug
               Any Information Gaps Through Other Means.

        193.   Even if the FTC had demonstrated current problems with the antitrust

 agencies’ ability to effectively screen transactions comparable in magnitude to the

 additional burden the Final Rule would place on thousands of transactions, the agency

 separately failed in its APA duty to meaningfully “consider responsible alternatives to its

 chosen policy and to give a reasoned explanation for its rejection of such alternatives.”

 Farmers Union, 734 F.2d at 1511. The Final Rule does not reasonably explain why the

 blunt instrument of the Rule is preferable to a far more targeted, less burdensome

 approach: simply increasing the FTC and DOJ’s use of their myriad other tools for

 collecting the information and documents they purportedly need.




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               1.     The Agencies Have Many Ways To Acquire Information In The
                      First Statutory Waiting Period.

        194.   To the extent that DOJ and the FTC believe that they need some additional

 information during their initial review of a transaction, they have a number of ways to

 acquire that information.

        195.   First, once the agencies are notified of the basics of a proposed transaction,

 agency staff have access to a “wealth of online materials that were not easily available

 when the HSR Act was passed (i.e., trade publications, SEC filings and shareholder

 presentations, and consumer- or trade partner-facing websites)” to learn more about the

 competitive dynamics at play. Business Roundtable Comment at 10. Indeed, that has

 been the case for decades.      In its 2000 report, the International Competition Policy

 Advisory Committee quoted “one antitrust official” who “noted the relative ease with

 which competition authorities may now monitor pending transactions.” ICPAC Report

 129 n.104. That official noted “the proliferation of media outlets” that “report hints of

 merger talks” in addition to “old reliables . . . like the Financial Times and the Wall Street

 Journal,” and explained that the “agencies pay attention to these reports and may seek to

 substantiate them by calls to the companies or to their counselors.”           Id.   If those

 conditions of “relative ease” have changed since 2000, the Rule does not say why.

        196.   The FTC and DOJ also have several other more concrete mechanisms for

 obtaining information from particular persons or entities—all of which the agencies have

 learned how to effectively use over the past five decades. See U.S. Chamber Comment at

 3, Business Roundtable Comment at 10-11.




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        197.   First, as the Rule discusses, the agencies can and do contact third parties on

 a voluntary basis, including customers and competitors, who are not only likely to have

 relevant information, but also strongly incentivized to share it if they have competitive

 concerns about a transaction.

        198.   Second, on occasion, the agencies can and do reach out to the filers or their

 counsel both informally (including by phone) and via the more formalized “voluntary

 access letters” (also called “voluntary request letters”).       See FTC, Guidance for

 Voluntary Submission of Documents During the Initial Waiting Period (FTC Voluntary

 Guidance),           https://www.ftc.gov/enforcement/premerger-notification-program/hsr-

 resources/guidance-voluntary-submission-documents; Department of Justice, Frequently

 Asked Questions on Voluntary Requests and Timing Agreements (Nov. 2018),

 https://www.justice.gov/atr/page/file/1111331/dl (DOJ Voluntary Requests FAQ).          The

 ICPAC Report explains (at 119) that, in the rare circumstances where the agencies do

 need more information to determine whether a Second Request is warranted, they “have

 been able to use” the voluntary access letter process “to identify and often resolve the

 antitrust issues within the initial review period.”

        199.   Indeed, as commenters pointed out, much of the information that the Final

 Rule newly requires of all filers used to be commonly sought in voluntary access letters.

 ICLA Comment at 23-24; U.S. Chamber Comment at 3. The FTC’s webpage on voluntary

 submissions even has a list of eight items it encourages parties to compile “in anticipation

 of” a voluntary access letter. See FTC Voluntary Guidance. Seven of those eight were




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 among the many proposed additions to the premerger form in the NPRM, and nearly all

 of them survived in some form to the Final Rule.

        200.   Third, both agencies have authority to issue compulsory “civil investigative

 demand[s],” or CIDs. See 15 U.S.C. § 57b–1 (FTC); id. § 1312 (DOJ); U.S. Chamber

 Comment at 3. DOJ’s voluntary requests FAQ notes that it “will issue” a CID in the

 initial 30-day window for merger responses. DOJ Voluntary Requests FAQ.

        201.   Finally, to the extent that either agency concludes that it needs more than

 the initial 30-day waiting period to gather or analyze information, it can suggest that the

 filer “pull and refile” its HSR notification to restart the statutory clock. In response to

 such suggestions, parties often do pull and refile their notifications in order to give the

 agency more time. As the Rule discusses, the FTC has even formalized that option by

 adopting a rule that “offers filers the option to withdraw and refile their filings without

 [even] paying an additional filing fee.” 89 Fed. Reg. at 89,244.

               2.      The FTC’s Explanations For Not Using These Tools Are
                       Unreasonable And Contrary To The Evidence.

        202.   The Final Rule offered three basic responses to the comments urging the

 FTC to make better use of these tools in lieu of expanding the premerger form for all

 filers. Each is irrational, plainly contrary to the evidence, or both.

        203.   First, the FTC argues that “requiring voluntary submissions from even

 more filers” “would impose unnecessary burden and delay on filings that are not currently

 flagged for follow up.” 89 Fed. Reg. 89,429. That makes no sense. The Rule quadruples

 the mandatory filing burden on thousands of transactions and triples it on hundreds if not




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 thousands more, all of which pose no antitrust issue. It is irrational to do that to spare a

 few hundred (at most) transactions that the agencies presumably would have selected for

 follow-up for some good reason, based on having quickly reviewed the premerger form.

 Moreover, voluntary access letters might well require less work from recipients than the

 Final Rule requires of all transactions, since the letter would be targeted to particular

 problem areas identified by that initial review. See Wachtell Comment at 13.

        204.   Second, the Final Rule notes that “a filer’s submission of any additional

 information beyond what is required for an HSR filing is voluntary,” such that the

 agencies “have no ability to demand compliance” and filers have no incentive to “supply[]

 the necessary information in an objective and neutral manner.” 89 Fed. Reg. at 89,244.

        205.   That response has several obvious holes.          It ignores the option to use

 compulsory CIDs, which the Rule says nothing about. It also disregards commenters’

 point that, most of the time, the filing parties have every incentive to cooperate with a

 voluntary access letter or other voluntary request (including to pull and refile) to avoid a

 burdensome Second Request.           U.S. Chamber Comment at 13-14; Axinn, Veltrop

 & Harkrider LLP Comment at 5 (Sept. 27, 2023); Wachtell Comment at 13 & n.60.

 Finally, the concern that filers are incentivized to paint the transaction in a flattering light

 applies equally when they fill out the initial form. Filing parties and their counsel are

 generally not going to make false or misleading statements to a federal agency, and if

 they are inclined to, there is no reason to trust their initial responses either.

        206.   Third and finally, the Final Rule argues that the antitrust agencies would

 “lack a basis to identify the need for additional” information without the expanded




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 premerger form. 89 Fed. Reg. at 89,249; see id. at 89,247 (“[W]ithout the additional

 information required by the final rule, the Agencies would continue to struggle to uncover

 key facts necessary to determine” whether to investigate further.). But if the agencies

 have been consistently missing problematic transactions based on “unknown unknowns”

 of this kind, the FTC should by this point have at least one example to cite. It does not

 because the problem is illusory. As a former antitrust official explained almost 30 years

 ago:

               We do not find it plausible that any truly significant
               transaction will escape detection in these days of intense
               media scrutiny and strategic complaints by competitors. In
               addition to competitors, customers of merging firms have also
               become quite comfortable with reporting their concerns to an
               antitrust agency. Indeed, if a transaction completely escapes
               media attention and generates no competitor or customer
               complaints, one might ask why it deserves the attention of
               federal enforcement officials.

 Sims & Herman, supra, at 892.

               3.     The FTC Did Not Reasonably Explain Why It Cannot Make
                      Better Use Of Second Requests.

        207.   The Final Rule also offers no reasonable explanation for why the agencies

 cannot make better use of the most potent tool that Congress gave them: the Second

 Request. The Final Rule gave two answers. The first is the same “unknown unknown”

 point just discussed, 89 Fed. Reg. at 89,247, to which the response is the same.

        208.   The second response the FTC offers is that “issuing more Second Requests

 is an extremely costly alternative to the final rule,” because as currently practiced, Second

 Requests increase the time for premerger review by months and cost on average $4.3

 million per Request. 89 Fed. Reg. at 89,247. But the relevant comparison is not between



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 the cost of a Second Request and the cost of filling out the premerger form for any given,

 single transaction. The comparison is between (i) imposing an additional large burden on

 a handful of potentially problematic transactions and (ii) quadrupling the filing burden on

 thousands of obviously harmless transactions.     Even if the costs in time and money

 between those two alternatives were equivalent, it would obviously be better to require

 that effort for transactions for which there is already some reason to think there may be

 an antitrust problem.

         209.   In any event, even the agency’s (seriously understated) cost estimates show

 that the alternatives are not equivalent. The Rule estimates an additional cost per year

 from the changes to the premerger form of $139.3 million: 68 additional hours on average

 to complete the form times a blended hourly rate of $583.        89 Fed. Reg. at 89,334.

 Meanwhile, the antitrust agencies averaged 48 Second Requests per year from 2001 to

 2020.   Billman & Salop, supra, at 3. Assuming an average cost of $4.3 million, the

 antitrust agencies could nearly double the amount of Second Requests at the same “price”

 they are inflicting by expanding the premerger form. So “issuing more Second Requests

 is” not “an extremely costly alternative to the final rule,” 89 Fed. Reg. at 89,247—it is a

 cheaper and more effective one, even taking everything else the FTC says at face value.

         210.   In addition, the Final Rule simply assumed that the antitrust agencies’

 current costly approach to Second Requests must be held constant. That was irrational,

 since the entire point of the Rule was to not hold constant the amount of information

 required by the premerger form after five decades of doing just that. There is no reason

 why the FTC and DOJ cannot alter their Second Request procedures—which have




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 become     exceedingly    burdensome       over    time,   notwithstanding   Congress’s    2000

 amendments—to reduce some costs at least some of the time.

                                    CLAIMS FOR RELIEF

                                       COUNT I
                            Administrative Procedure Act
         (Not In Accordance With Law And In Excess Of Statutory Authority —
               Unlawful Interpretation Of “Necessary And Appropriate”)
                                     5 U.S.C. § 706

        211.    Plaintiffs repeat and incorporate by reference all the above allegations.

        212.    Under the APA, a reviewing court “shall . . . hold unlawful and set aside”

 final agency action found to be “not in accordance with law,” 5 U.S.C. § 706(2)(A), and “in

 excess of statutory . . . authority,” id. § 706(2)(C).

        213.    The HSR Act authorizes the FTC to “require that the” “premerger

 notification” mandated by the Act “be in such form and contain such documentary

 material and information relevant to a proposed acquisition as is necessary and

 appropriate to enable the Federal Trade Commission and the Assistant Attorney General

 to determine whether such acquisition may, if consummated, violate the antitrust laws.”

 15 U.S.C. §18a(d)(1).

        214.    That language limits the FTC to requiring information that (i) is truly

 “necessary” to facilitate an initial antitrust screen of the proposed transaction and (ii) will

 not impose a higher cost to compile and produce than it reasonably returns in benefit to

 the antitrust agencies or the public.

        215.    In the Final Rule, the FTC rejected these critical constraints on its

 authority to require information and documentary material in the HSR notification form.




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 E.g., 89 Fed. Reg. at 89,236 (stating that Congress did not “intend[] the words ‘necessary

 and appropriate’ to require a cost-benefit analysis”). The Final Rule is premised on that

 erroneous interpretive conclusion. As a result, the Rule as adopted is fundamentally

 “incompatible with the . . . statutory scheme” of the HSR Act and thus not in accordance

 with law and in excess of the FTC’s statutory authority. See Sierra Club, 294 F.3d at 162.

           216.   Plaintiffs are therefore entitled to relief pursuant to 5 U.S.C. §§ 702, 706,

 and the Final Rule should be held unlawful and set aside.

                                       COUNT II
                              Administrative Procedure Act
           (Not In Accordance With Law And In Excess Of Statutory Authority —
                     Requirement To Disclose Officers And Directors)
                                     5 U.S.C. § 706

           217.   Plaintiffs repeat and incorporate by reference all the above allegations.

           218.   Under the APA, a reviewing court “shall . . . hold unlawful and set aside”

 final agency action found to be “not in accordance with law,” 5 U.S.C. § 706(2)(A), and “in

 excess of statutory . . . authority,” id. § 706(2)(C).

           219.   The Final Rule requires certain buyers filing a premerger notification form

 to identify certain officers and directors of the buyer and its subsidiaries. 89 Fed. Reg. at

 89,294.

           220.   Under the HSR Act, the FTC may only request information that is

 “relevant to a proposed acquisition” to “determine whether such acquisition may, if

 consummated, violate the antitrust laws.” 15 U.S.C. § 18a(d)(1) (emphasis added). The

 fact that a board or officer interlock may result from a proposed acquisition does not

 render the acquisition a violation of the antitrust laws. If an acquisition does create a




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 prohibited interlock, Section 8 would provide the offending person(s) a one-year grace

 period to remedy the interlock by resigning.             Accordingly, the FTC lacks statutory

 authority to use the HSR premerger notification form to screen a transaction for

 interlocks prohibited by Section 8.

        221.    The Final Rule also requires disclosure of individuals who “serve similar

 functions” to a director or officer in an unincorporated entity. 89 Fed. Reg. at 89,287. But

 by its terms, Section 8 does not apply to unincorporated entities.

        222.    Nor is the identity of any officer or director or any potential personal

 conflict related to the proposed acquisition information that is “necessary and

 appropriate” to the antitrust agencies’ initial HSR screen.

        223.    For these reasons, the Final Rule’s requirement to disclose the identities of

 certain officers and directors or individuals who “serve similar functions” exceeds the

 FTC’s statutory authority and is not in accordance with law. Plaintiffs are therefore

 entitled to relief pursuant to 5 U.S.C. §§ 702, 706, and the Rule’s requirements regarding

 disclosures of officers and directors should be held unlawful and set aside.

                                     COUNT III
                            Administrative Procedure Act
         (Not In Accordance With Law And In Excess Of Statutory Authority —
                    Requirement Of Substantive Antitrust Analysis)
                                    5 U.S.C. § 706

        224.    Plaintiffs repeat and incorporate by reference all the above allegations.

        225.    Under the APA, a reviewing court “shall . . . hold unlawful and set aside”

 final agency action found to be “not in accordance with law,” 5 U.S.C. § 706(2)(A), and “in

 excess of statutory . . . authority,” id. § 706(2)(C).




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        226.   The Final Rule adds to the premerger notification form several requests for

 information that in practice will require the filer to take legal positions and otherwise

 provide substantive antitrust analysis.

        227.   The text, structure, and purposes of the HSR Act make clear that the

 statute does not permit the FTC to require substantive legal analysis as part of the

 “information” that must be submitted in the “premerger notification.”             15 U.S.C.

 § 18a(d)(1). The HSR premerger notification process is not a pre-approval regime like the

 ones in force in various other jurisdictions, such as the European Union.

        228.   For these reasons, each of the Rule’s new demands for information and

 documentary material that in practice will require the parties to provide substantive legal

 analysis—including but not limited to the Transaction Rationale, Overlap Description, and

 Supply-Relationships Description requirements in whole or in part—exceed the FTC’s

 statutory authority and are not in accordance with law.

        229.   Plaintiffs are therefore entitled to relief pursuant to 5 U.S.C. §§ 702, 706,

 and each of the Rule’s new demands for information and documentary material that in

 practice will require the parties to provide substantive legal analysis should be held

 unlawful and set aside.

                                    COUNT IV
                            Administrative Procedure Act
        (Arbitrary And Capricious — Deficient Cost-Benefit Analysis For Rule)
                                   5 U.S.C. § 706

        230.   Plaintiffs repeat and incorporate by reference all the above allegations.




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        231.   Under the APA, the Court “shall . . . hold unlawful and set aside” final

 agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in

 accordance with law.” 5 U.S.C. § 706(2).

        232.   The HSR Act authorizes the FTC to “require that the” “premerger

 notification” mandated by the Act “be in such form and contain such documentary

 material and information relevant to a proposed acquisition as is necessary and

 appropriate to enable the Federal Trade Commission and the Assistant Attorney General

 to determine whether such acquisition may, if consummated, violate the antitrust laws.”

 15 U.S.C. § 18a(d)(1). That language limits the FTC to requiring information that will not

 impose a higher cost to compile and produce than it reasonably returns in benefit to the

 antitrust agencies or the public.

        233.   Independent of the statutory language, a regulation is arbitrary and

 capricious if the agency “failed to consider an important aspect of the problem.” State

 Farm, 463 U.S. at 43.      “This includes, of course, considering the costs and benefits

 associated with the regulation.” Mexican Gulf, 60 F.4th at 973. If the “benefits” of a

 regulation “do not bear a rational relationship to the serious . . . costs imposed” by the

 regulation, then the regulation is arbitrary and capricious. Id. Moreover, even in the

 “absence of a statutory duty” to perform a cost-benefit analysis, “when an agency decides

 to rely on a cost-benefit analysis as part of its rulemaking, a serious flaw undermining that

 analysis can render the rule unreasonable” under the APA.               National Ass’n of

 Homebuilders v. EPA, 682 F.3d 1032, 1040 (D.C. Cir. 2012).




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        234.   Although the Final Rule purports to have “consider[ed] . . . the costs and

 benefits” of the Rule as a whole, 89 Fed. Reg. at 89,237, the FTC never concluded that the

 benefits of the Rule actually outweigh its costs. Instead, it chose to require production of

 the information and documentary material it deems “necessary and appropriate” and then

 sought to “minimize where possible the costs to filers.” E.g., id. at 89,217 (emphasis

 added). “Reduc[ing] the cost and delay for filers as much as practicable,” id. at 89,273, is

 not the same thing as finding that the benefits of the information outweigh the costs, as

 required by the statute.    It is instead akin to starting with the desired regulatory

 imposition, then simply trying to reduce the costs of that regulation to some extent.

        235.   At any rate, the FTC could not have rationally concluded that the benefits

 of requiring all the information and documentary material newly demanded by the Rule

 “reasonably outweigh [the] costs” of doing so. Mexican Gulf, 60 F.4th at 965. Among

 other reasons, the Rule entirely discounts the important indirect costs to businesses and

 the American economy from extending deal timelines and increasing uncertainty, which

 will prevent and deter value-creating M&A activity and affect small business especially

 severely. See 89 Fed. Reg. at 89,257-89,258. It substantially overstates the marginal

 benefit to the prevention of anticompetitive mergers. It irrationally triples and in many

 cases quadruples the HSR filing burden for transactions, nearly all of which pose no

 antitrust concern, to avoid the need to follow up on the small minority of transactions that

 have already been identified as potentially problematic. And it improperly concludes that

 it is “appropriate” to impose a much greater mandatory burden on all filers than to

 occasionally seek information on a voluntary basis from third parties.




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       236.     For these reasons, the FTC’s adoption of the Final Rule was arbitrary and

capricious. Plaintiffs are therefore entitled to relief pursuant to 5 U.S.C. §§ 702, 706, and

the Final Rule should be held unlawful and set aside.

                                        COUNT V
                              Administrative Procedure Act
              (Arbitrary And Capricious — Deficient Cost-Benefit Analysis Of
                            Certain Individual Requirements)
                                      5 U.S.C. § 706

       237.     Plaintiffs repeat and incorporate by reference all the above allegations.

       238.     Under the APA, the Court “shall . . . hold unlawful and set aside” final

agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2).

       239.     The HSR Act authorizes the FTC to “require that the” “premerger

notification” mandated by the Act “be in such form and contain such documentary

material and information relevant to a proposed acquisition as is necessary and

appropriate to enable the Federal Trade Commission and the Assistant Attorney General

to determine whether such acquisition may, if consummated, violate the antitrust laws.”

15 U.S.C. §18a(d)(1). That language limits the FTC to requiring information that will not

impose a higher cost to compile and produce than it reasonably returns in benefit to the

antitrust agencies or the public. Independent of the statutory language, if the “benefits”

of a regulation “do not bear a rational relationship to the serious . . . costs imposed” by the

regulation, then the regulation is arbitrary and capricious. Mexican Gulf, 60 F.4th at 965.

       240.     Even if the Final Rule as a whole passes the requisite cost-benefit analysis,

under the plain text of the HSR Act, each piece of “information relevant to [the] proposed




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acquisition” must be “necessary and appropriate” before the FTC may require it as part

of the premerger notification form.

          241.   The Final Rule adopts many specific requirements for information and/or

documentary material that impose serious costs in return for little if any enforcement

benefit. The Final Rule does not and could not have reasonably concluded otherwise.

These requirements include, but are not limited to: (i) all drafts “shared with any member

of the board of directors (or similar body),” 89 Fed. Reg. at 89,303; (ii) certain ordinary-

course plans and reports provided to the CEO or board of directors, id. at 89,371, 89,376;

(iii) detailed information about “existing or potential purchase or supply relationships

between the filing persons,” id. at 89,317; (iv) information relevant to concerns about

potential competition, id. at 89,230-89,231; (v) information on sales and customers outside

the United States, id. at 89,316; and (vi) information on officers and directors, id. at

89,294.

          242.   For these reasons, the Final Rule’s addition of new categories of

information or documentary material to the premerger notification form that are more

costly to compile and submit than they are beneficial to the antitrust agencies and the

public (including but not limited to those just identified) is arbitrary and capricious.

          243.   Plaintiffs are therefore entitled to relief pursuant to 5 U.S.C. §§ 702, 706,

and the Final Rule should be held unlawful and set aside to the extent it requires such

information or documentary material.




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                                     COUNT VI
                            Administrative Procedure Act
             (Arbitrary and Capricious — Failure to Adequately Explain
                             Why Rule Is “Necessary”)
                                    5 U.S.C. § 706

      244.   Plaintiffs repeat and incorporate by reference all the above allegations.

      245.   Under the APA, the Court “shall . . . hold unlawful and set aside” final

agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2).

      246.   The HSR Act authorizes the FTC to require that the “premerger

notification” mandated by the Act “be in such form and contain such documentary

material and information relevant to a proposed acquisition as is necessary and

appropriate to enable the Federal Trade Commission and the Assistant Attorney General

to determine whether such acquisition may, if consummated, violate the antitrust laws.”

15 U.S.C. §18a(d)(1).   As relevant here, that language limits the FTC to requiring

information that is truly “necessary” to facilitate an initial antitrust screen of the

proposed transaction.

      247.   To the extent the FTC found that the Rule is “necessary” as required by the

HSR Act, that decision “runs counter to the evidence” and is not “the product of reasoned

decisionmaking.” State Farm, 463 U.S. at 43, 52. The Rule offers no hard evidence of any

real problem in the form of anticompetitive mergers slipping through the HSR premerger

notification process, nor does the Rule give any good reason to think that having the new

information and documents it requires will meaningfully improve the antitrust agencies’

prevention of such transactions.




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       248.   Even if the HSR Act did not require the FTC to reasonably conclude that

the information and documents the Rule adds to the premerger form are “necessary,” the

APA imposes the same requirement.           The APA requires an agency to rationally

“consider[] the costs and benefits associated with [a proposed] regulation.” Mexican Gulf,

60 F.4th at 973. An agency violates that obligation if it adopts a rule imposing significant

costs without “adequately substantiat[ing]” that the rule responds to “a genuine

problem.” Chamber of Commerce, 85 F.4th at 777-778. That perfectly describes what the

FTC has done here.

       249.   For these reasons, the FTC’s adoption of the Final Rule was arbitrary and

capricious. Plaintiffs are therefore entitled to relief pursuant to 5 U.S.C. §§ 702, 706, and

the Final Rule should be held unlawful and set aside.

                                     COUNT VII
                            Administrative Procedure Act
              (Arbitrary and Capricious — Failure to Adequately Justify
                                 Change In Policy)
                                    5 U.S.C. § 706

       250.   Plaintiffs repeat and incorporate by reference all the above allegations.

       251.   Under the APA, the Court “shall . . . hold unlawful and set aside” final

agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2).

       252.   When an agency changes its position, reasoned decisionmaking requires it

to “show that there are good reasons for the new policy” approach. Fox, 556 U.S. at 515.

Particularly when departing from a “longstanding polic[y],” the agency must give a




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“reasoned explanation . . . for disregarding facts and circumstances that underlay” the

prior policy. Encino Motorcars, 579 U.S. at 222.

       253.   As the Final Rule notes, the premerger notification form prior to the Rule’s

amendments was “very similar to the original 1978 version in its scope and content.”

89 Fed. Reg. at 89,257. When the FTC has amended the form in the past, such changes

have been minor and “frequently reduced the burdens associated with submitting” the

form. Id. Moreover, there was widespread agreement among the antitrust agencies, bar,

and business community that the longstanding, stable design of the form effectively

facilitated the agencies’ initial screen of HSR-reportable transactions. Objective data

backed up that assessment. The FTC itself repeated it to Congress and in public-facing

documents. This “longstanding policy” struck the overall cost-benefit balance in a far less

burdensome way.

       254.   The Rule departs from this longstanding approach by expanding the

premerger notification form to such an extent that, by the FTC’s own dubious estimate,

the time necessary to prepare the form will triple for the average filing. By failing to

adequately establish a problem with the current premerger form that is even remotely

commensurate, the Rule falls short of offering a “reasoned explanation,” Encino

Motorcars, 579 U.S. at 222, for that significant change in policy direction.

       255.   The Rule also does not show that there are good reasons for the FTC to

reverse its earlier determination that the agency did “not need[] to rely” on a more limited

set of “vendor-vendee” information to effectively screen for the rare transaction that

presents vertical-foreclosure concerns. 66 Fed. Reg. at 8,686.




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       256.   For these reasons, the FTC’s adoption of the Final Rule was arbitrary and

capricious. Plaintiffs are therefore entitled to relief pursuant to 5 U.S.C. §§ 702, 706, and

the Final Rule should be held unlawful and set aside.

                                     COUNT VIII
                            Administrative Procedure Act
              (Arbitrary and Capricious — Failure to Rationally Analyze
                           Less Burdensome Alternatives)
                                    5 U.S.C. § 706

       257.   Plaintiffs repeat and incorporate by reference all the above allegations.

       258.   The APA requires a reviewing court to hold unlawful and set aside any

agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A).

       259.   Under the APA, “an agency has a duty to consider responsible alternatives

to its chosen policy and to give a reasoned explanation for its rejection of such

alternatives.” Farmers Union, 734 F.2d at 1511; see Louisiana v. United States Dep’t of

Energy, 90 F.4th 461, 476 (5th Cir. 2024) (agency is “required to ‘consider the alternatives’

that are ‘within the ambit of existing policy’”) (quoting DHS v. Regents, 591 U.S. 1, 30

(2020)).

       260.   Here,   even   assuming     the   FTC     adequately   demonstrated    serious

shortcomings with the longstanding version of the premerger form, the Final Rule did not

give a “reasoned explanation” for its choice to address those shortcomings by tripling or

quadrupling the filing burden on all HSR-reportable transactions, rather than making

better and/or increased use of the antitrust agencies’ existing, more targeted tools.

Among other reasons, the Final Rule’s explanations for not increasing or improving the




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agencies’ use of voluntary access letters, CIDs, and voluntary third-party outreach are

irrational on their own terms.      And the Rule’s rejection of expanded use of Second

Requests unreasonably assumes that the agencies’ existing practices cannot change, even

as the Rule drastically changes the premerger form itself.

       261.    For these reasons, the FTC’s adoption of the Final Rule was arbitrary and

capricious. Plaintiffs are therefore entitled to relief pursuant to 5 U.S.C. §§ 702, 706, and

the Final Rule should be held unlawful and set aside.

                                  PRAYER FOR RELIEF

       Plaintiffs respectfully request that this Court enter judgment in their favor and

against Defendants and provide the following relief:

       (i)     A declaratory judgment that the Final Rule is in excess of statutory

               authority, arbitrary, capricious, or otherwise contrary to law either in whole

               or in part, see 5 U.S.C. § 706(2)(A), 28 U.S.C. § 2201;

       (ii)    An order setting aside the Final Rule in its entirety or insofar as the Court

               finds it in excess of statutory authority, arbitrary, capricious, or otherwise

               contrary to law, see 5 U.S.C. § 706(2);

       (iii)   An order enjoining the FTC from enforcing the Final Rule or any

               requirement therein found to be in excess of statutory authority, arbitrary,

               capricious, or otherwise contrary to law;

       (iv)    An order awarding Plaintiffs their reasonable costs, including attorney’s

               fees, incurred in bringing this action; and

       (v)     Such other and further relief that this Court deems just and equitable.




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Dated: January 10, 2025


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